Case 3:25-cv-00345 Document 4

Tearria & Clinton Simmons; Billy Coram, pro se
PLAINTIFFS

18 Hurricane Creek Rd. [Apt. B]

Hurricane, WV 25526 ;

Filed 05/27/25

304-539-8262; 423-395-3550 tialashes@icloud.com;

681-777-3536; csimmons4pbcc@gmail.com;
304-563-5784; coramrobert64@gmail.com

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FILED
MAY 2 7 2005

RORY L. PARRY I, Chel
US Distnct Cour

Southern District of West Vicginia

PLAINTIFFS, Tearria & Clinton Simmons, and on behalf of their minor children; Billy Coram, pro se

UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
HUNTINGTON DIVISION

TEARRIA AND CLINTON SIMMONS,
individuals, their children, A.B.P., O.S.S., and
R.T.S., by and through their mother; BILLY LEE
CORAM, an individual, pro se

Plaintiffs,

Vv.

CITY OF HURRICANE, a municipality; SCOTT
EDWARDS, MAYOR of the CITY OF
HURRICANE, in his individual capacity; CHIEF
MICHAEL MULLINS, CHIEF OF
HURRICANE POLICE DEPT., in his individual
capacity; CORPORAL BRETT JOHNSON,
PATROLMAN W.D. ALLEN, PATROLMAN
PAYTON CARR, SERGEANT MAKENZIE
WHITE, DETECTIVE JONATHON PAYNE,
and OFFICER JOHN DOES 1-10, INCLUSIVE,
in their individual capacities; and ALYSON
DENISON, a worker for Child Protective Services,
in her individual capacity

Defendants

New ]
CASE NO: 2:25-ev-l1111 2:'&5~ CU-003

COMPLAINT FOR DAMAGES
DEMAND FOR A JURY TRIAL

JUDGE:
MAGISTRATE:

FEDERAL CLAIMS UNDER 42 U.S.C. §1983

1. INVALID SEARCH WARRANT — ALL DEFENDANTS
2, JUDICIAL DECEPTION — CORPORAL B JOHNSON

3. UNREASONABLE SEARCH (KNOCK AND
ANNOUNCE) -— ALL DEFENDANTS

4, COERCED ENTRY — ALYSON DENISON

5. MUNICIPAL LIABILITY (MONELL) — CITY OF
HURRICANE

6. SUPERVISORY LIABILITY — MAYOR SCOTT
EDWARDS AND HURRICANE CHIEF oF POLICE,
MICHAEL MULLINS

7. SUBSTANTIVE AND PROCEDURAL DUE PROCESS
ALL DEFENDANTS

STATE LAW CLAIMS UNDER 28 U.S.C §1367
8. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(IED) - DEFENDANT PATROLMAN PAYTON CARR;

9. IHED; - DEFENDANT DENISON;

10, IED; - DEFENDANT PATROLMAN W.D. ALLEN

11/12, ASSAULT AND BATTERY — PLAINTIFF CLINTON
SIMMONS AGAINST DEFENDANT PATROLMAN CARR

13. CONVERSION — ALL DEFENDANTS

14/15. TRESPASS TO REAL PROPERTY AND TRESPASS TO
CHATTELS — ALL DEFENDANTS

16. PROFESSIONAL NEGLIGENCE — ALL DEFENDANTS

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COMPLAINT FOR DAMAGES
SIMMONS & CORAM vy. CITY OF HURRICANE, ET AL.

TO THE HONORABLE ABOVE-ENTITLED COURT:

COME NOW the Plaintiffs, CLINTON AND TEARRIA SIMMONS, married couple, citizen
residents of the state of West Virginia, pro se; MINOR CHILDREN A.B.P., O.S.5., and R.T.S., by and
through their mother; and BILLY LEE CORAM, an individual, citizen resident of the state of West
Virginia, pro se, (hereinafter, respectively, “PLAINTIFFS”) seeking damages for multiple gross
deprivations of their Constitutional Rights, pursuant to the Fourth, Fifth, and Fourteenth Amendments,
in direct violation of 42 U.S.C. §§1983, as well as multiple state law claims that are tagging along, as

this court has jurisdiction under federal law and statute, alleging as follows:

STATEMENT OF JURISDICTION AND VENUE

1. At all times relevant herein, the PLAINTIFFS were citizen residents of the CITY OF
HURRICANE, in the state of West Virginia, Putnam County, located in the Southern district,
and at all times relevant herein, all DEFENDANTS are believed to be citizen residents of the
State of West Virginia and are employed in or are residents of the CITY OF HURRICANE OR
PUTNAM COUNTY, located in the Southern district; as such, pursuant to 28 U.S.C. §1391, the
Federal District Court for the Southern District of West Virginia, Huntington Division, has the
authority to exercise personal jurisdiction over ALL PARTIES to this case.

2. As the court has original subject matter jurisdiction pursuant to 28 U.S.C. §§1331 and
1343(c), and the forum court is in the same judicial district where the incidents giving rise to
the action occurred and where all the DEFENDANTS are believed to reside or are employed,
pursuant to 28 U.S.C. §1391, venue is proper.

3. The subject matter of this action involves a federal question, namely, the gross

deprivation of the PLAINTIFFS’ Constitutional Rights, pursuant to 42 U.S.C. §1983, which

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provides a remedy via cause of action in the Federal District Court for individuals who have
had their Constitutional Rights violated or deprived of them by an individual acting under the
color of state law. As such, pursuant to 28 U.S.C. §§1331 and 1343(c), this court has the
authority to exercise original subject matter jurisdiction over each claim relevant to a question
of Federal law or deprivation of civil rights.

4, Pursuant to 28 U.S.C. §1367, where a district court has original subject matter
jurisdiction pursuant to 28 U.S.C. §1331, that court has the authority to exercise supplemental
jurisdiction over state law claims which it typically would not have jurisdiction to hear, where
those claims arise from a common nucleus of operative facts. State law claims alleged herein

arise from the same incidents as those claims involving a question of Federal law.

THE PARTIES
5. PLAINTIFFS CLINTON AND TEARRIA SIMMONS are citizen residents of the state
of West Virginia, Putnam County. Their address is 18 Hurricane Creek Rd. Hurricane, 25526,
in the Southern District of West Virginia.

6. PLAINTIFFS MINOR CHILDREN, A.B.P., O.S.S., AND R.T.S., by and through their
mother, are citizen residents of the state of West Virginia, Putnam County, in the Southern
District. Their mother will petition the court in the accompanying attachment for appointment
as guardian ad litem. Their address is the same as their mother’s and father’s address.

7. PLAINTIFF BILLY LEE CORAM is a citizen resident of the state of West Virginia,
Putnam County. His address is 18 Hurricane Creek Rd. Apt. B. Hurricane, 25526, in the
Southern District of West Virginia.

8. Pursuant to the Federal Rules of Civil Procedure, Rule 19, a person who is subject to
service of process and whose joinder will not deprive the court of subject-matter jurisdiction
must be joined as a party if:

a. In that person's absence, the court cannot accord complete relief among existing

parties; - or -

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b. That person claims an interest relating to the subject of the action and is so situated
that disposing of the action in the person's absence may
i. Asa practical matter impair or impede the person's ability to protect the
interest; - or —
ii, Leave an existing party subject to a substantial risk of incurring double,
multiple, otherwise inconsistent obligations because of the interest.

9. PLAINTIFF BILLY LEE CORAM is required to join this complaint for damages
because his claims all arise from a common nucleus of operative facts as the claims brought by
PLAINTIFFS CLINTON AND TEARRIA SIMMONS and their minor children and his
interests, as they relate to the subject of this action, are so situated that disposing of the action in
his absence would leave the DEFENDANTS subject to a substantial risk of incurring double,
multiple, or otherwise inconsistent obligations because of the interest.

10. PLAINTIFF BILLY LEE CORAM is subject to service of process and his joinder will
not deprive the court of subject matter jurisdiction, as that jurisdiction falls under 28 U.S.C.
§§1331, 1343(c), because the subject matter involves a question of federal law, pursuant to 42
U.S.C. §1983, and civil rights violations.

11. PLAINTIFFS are informed and believe and, on that basis, allege that the CITY OF
HURRICANE is a municipality of Putnam County, in the Southern District of the State of West
Virginia.

12. PLAINTIFES are informed and believe and, on that basis, allege that HURRICANE
POLICE DEPT. is an administrative arm of the CITY OF HURRICANE, and when referred to
herein the two are essentially one and the same.

13. PLAINTIFFS are informed and believe and, on that basis, allege that DEFENDANT
SCOTT EDWARDS (hereinafter, “DEFENDANT EDWARDS’) is the duly elected mayor of
the CITY OF HURRICANE, West Virginia, and has been for the last seventeen (17) years. The

allegations brought against him are brought in his individual capacity.

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14. PLAINTIFFS reasonably believe that DEFENDANT EDWARDS lives in the CITY
OF HURRICANE, Putnam County, in the state of West Virginia, in the Southern District, at an
address unknown to the PLAINTIFFS at the present time. PLAINTIFFS are informed and
subsequently believe that DEFENDANT EDWARDS is reachable in person or via postal mail
at Hurricane City Hall, 3255 Teays Valley Rd., Hurricane, 25526, in the Southern District of
the State of West Virginia.

15. DEFENDANT EDWARDS at all relevant times herein was and is MAYOR of the
incorporated public entity known as the CITY OF HURRICANE, duly authorized and existing
as such in and under the laws of the State of West Virginia; and at all times herein mentioned,
DEFENDANT EDWARDS has possessed the power and authority to adopt policies and
prescribe rules, regulations and practices affecting the operation of the HURRICANE POLICE
DEPT. and its tactics, methods, practices, customs and usage.

16. Atall relevant times, the CITY OF HURRICANE was the employer of each
“OFFICER” (e.g., Patrolman, Corporal, Sergeant, Detective, Chief...) DEFENDANT in this
matter, and DEFENDANT EDWARDS has the legal duty to oversee and supervise the hiring,
conduct, and employment of each OFFICER DEFENDANT in this matter.

17. PLAINTIFFS are informed and believe and, on that basis, allege that DEFENDANT
CHIEF MICHAEL MULLINS (hereinafter, “DEFENDANT MULLINS”) is the duly appointed
Chief of Police of the HURRICANE POLICE DEPT., a municipal entity and administrative
arm of the CITY OF HURRICANE, in the State of West Virginia, Putnam County, in the
Southern District, being appointed as such in 2007, seventeen years ago.

18. PLAINTIFFS are informed and believe and, on that basis, allege that DEFENDANT
MULLINS is a citizen resident of the state of West Virginia, at an address unknown to the
PLAINTIFFS, and is employed at 3245 Teays Valley Road, Hurricane, 25526, in the Southern
District of West Virginia. The claims alleged herein are brought against him in his individual
capacity.

29, DEFENDANT MULLINS, as duly appointed CHIEF of the HURRICANE POLICE

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DEPT., an administrative arm of the CITY OF HURRICANE, possesses the power and
authority to adopt policies and prescribe rules, regulations and practices affecting the operation
of the HURRICANE POLICE DEPT. and its tactics, methods, practices, customs and usage. At
all relevant times herein, the CITY OF HURRICANE was the employer of each OFFICER
DEFENDANT in this matter, and DEFENDANT MULLINS has the legal duty to oversee and
supervise the hiring, conduct, and employment of each and every OFFICER DEFENDANT in
this matter.

20. The PLAINTIFFS are informed and believe and, on that basis, allege that the
DEFENDANTS named herein as CORPORAL BRETT JOHNSON, PATROLMAN PAYTON
CARR, PATROLMAN W.D. ALLEN, SERGEANT MAKENZIE WHITE, and DETECTIVE
JONATHON PAYNE, who are employed by the HURRICANE POLICE DEPT., (hereinafter,
respectively, “DEFENDANTS,”) are citizen residents of the state of West Virginia, living in the
general area of and surrounding Putnam County, West Virginia, at addresses unknown to the
PLAINTIFES, and are employed at 3245 Teays Valley Road, Hurricane, 25526, in the Southern
District of West Virginia. They are being held liable in their individual capacities.

21. PLAINTIFFS allege on their reasonable beliefs that the DEFENDANTS were duly
authorized employees and agents of the CITY OF HURRICANE, WEST VIRGINIA,
HURRICANE POLICE DEPT., subject to oversight and supervision by the CITY OF
HURRICANE’S elected and non-elected officials, who were acting under color of law within
the course and scope of their respective duties as police officers and within the complete
authority and ratification of their principal, the CITY OF HURRICANE, WEST VIRGINIA, at
all times relevant to this complaint for damages.

22. Claims which are brought against those DEFENDANTS who are fictitiously named
herein as “OFFICER JOHN DOES 1-10, INCLUSIVE,” (hereinafter, “DEPENDANT
OFFICER DOES”) whose true names and addresses are as yet “unknown” to the PLAINTIFFS,
are reasonably believed to be citizen residents of the state of West Virginia, who live in the

general area of and surrounding Putnam County, West Virginia, and are employed by or closely

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affiliated with the HURRICANE POLICE DEPT., located at 3245 Teays Valley Road,
Hurricane, 25526, and the CITY OF HURRICANE, in the Southern District of West Virginia.

23. DEFENDANT OFFICER DOES are, herein, given fictitious names as the
PLAINTIEFES are informed and believe and thereon allege that these DEFENDANT OFFICER
DOES were duly authorized employees and agents of the CITY OF HURRICANE, WEST
VIRGINIA, HURRICANE POLICE DEPT., subject to oversight and supervision by the CITY
OF HURRICANE’S elected and non-elected officials, who were acting under color of law
within the course and scope of their respective duties as police officers and within the complete
authority and ratification of their principal, the CITY OF HURRICANE, WEST VIRGINIA.

24, PLAINTIFFS hereby take leave to amend this Complaint to set forth the true names
and identities of the unknown fictitiously named OFFICER DOE DEFENDANTS when they
are ascertained.

25. The PLAINTIFFS are informed and believe that the DEFENDANT named herein,
ALYSON DENISON, CHILD PROTECTIVE SERVICES (also referred to as C.P.S.)
WORKER, (hereinafter, respectively, “DEFENDANT DENISON,”) is employed by the
OFFICE OF CHILD AND ADULT SERVICES, BUREAU FOR SOCIAL SERVICES, WEST
VIRGINIA DEPARTMENT OF HEALTH AND HUMAN RESOURCES, and is a citizen
resident of the state of West Virginia, living in the general area of and surrounding Putnam
County, West Virginia, at an address unknown to the PLAINTIFFS. Her employer’s address is
112531 Winfield Road, Winfield, 25213, in Putnam County, in the Southern District of West
Virginia. She is being held liable in her individual capacity.

26. PLAINTIFFS allege on their reasonable beliefs that DEFENDANT DENISON isa
duly authorized employee and agent of the BUREAU FOR SOCIAL SERVICES, subject to
oversight and supervision by the WEST VIRGINIA DEPARTMENT OF HEALTH AND
HUMAN RESOURCES, who was acting under the color of law within the course and scope of
her respective duties as a CHILD PROTECTIVE SERVICES (CPS) WORKER for the OFFICE
OF CHILD AND ADULT SERVICES, and within the complete authority and ratification of

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their principal.

FACTUAL ALLEGATIONS
27. In September 2024, PLAINTIFF CLINTON SIMMONS learned that he had an outstanding

warrant for his arrest for failure to appear in court in Putnam County, W.Va. on misdemeanor charges.

28. During that time, OFFICER DEFENDANTS named herein harassed PLAINTIFF TEARRIA
SIMMONS and her minor children, accusing her of harboring her husband and threatening her with
arrest and the involvement of Child Protective Services (CPS).

29. On September 18, 2024, DEFENDANT PATROLMAN ALLEN threatened PLAINTIFF
TEARRIA SIMMONS with charges of aiding and abetting and removal of her children if she did not
allow a warrantless search of her home to look for her husband and intimidated the family, causing
substantial distress, by standing on the porch knocking incessantly after PLAINTIFF TEARRIA
SIMMONS closed the door, signaling the conversation was over. This occurred a second time in early
October 2024, on a date PLAINTIFFS are unable to recall.

30. On October 21, 2024, DEFENDANT ALYSON DENISON, a CPS worker, visited the
PLAINTIFFS’ home following an “anonymous” referral alleging abuse or neglect. DEFENDANT
DENISON did not follow the standard CPS procedures, failing to inform PLAINTIFF TEARRIA
SIMMONS of the family’s rights or of the allegations made against them and failing to provide
educational materials explaining the investigation process and services offered by CPS. DEFENDANT
DENISON became hostile when PLAINTIFF TEARRIA SIMMONS denied entry without first
consulting legal counsel and made judgmental and biased statements toward PLAINTIFF TEARRIA

SIMMONS at that time.

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31. On October 22, 2024, DEFENDANT PATROLMAN PAYTON CARR served a warrant on
PLAINTIFF TEARRIA SIMMONS, for unrelated incidents arising out of Kanawha County, at her
residence while DEFENDANT DENISON waited across the street from the residence at a gas station.
DEFENDANT DENISON approached the residence after PLAINTIFF TEARRIA SIMMONS was in
custody and demanded to enter the residence for inspection or otherwise would be removing the
children. Under duress, PLAINTIFF TEARRIA SIMMONS consented to a walkthrough, but only after
the threats were made regarding the removal of her children, and under the condition that she
accompany DEFENDANT DENISON during the walkthrough.

32. After the walkthrough, now exhausted from the emotional exertion and still under significant
duress, PLAINTIFF TEARRIA SIMMONS provided DEFENDANT PATROLMAN CARR with
written consent to search her residence for the purpose of finding her husband.

33. DEFENDANT PATROLMAN CARR then instructed another officer with HURRICANE
POLICE DEPT., Patrolman Vickers, who is not named a party to this suit, to take PLAINTIFF
TEARRIA SIMMONS to Magistrate Court to take care of the warrant while officers with
HURRICANE POLICE DEPT. remained at the residence to conduct the search, despite PLAINTIFF
TEARRIA SIMMONS protesting to the search occurring in her absence.

34. During PLAINTIFF TEARRIA SIMMONS’ absence, while conducting the search,
DEFENDANT PATROLMAN CARR permitted or failed to prevent DEFENDANT DENISON
accessing the interior of the home, without PLAINTIFFS’ knowledge or consent, and allowed or failed
to prevent her to make contact with the young children and ask questions of them without their parental

guardians.

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35. PLAINTIFF CLINTON SIMMONS was not found in the home during the search conducted by
HURRICANE POLICE DEPT. on October 22, 2024, and PLAINTIFF TEARRIA SIMMONS was
released from custody upon arrival at Magistrate Court. The officer who took her to the Court provided
PLAINTIFF TEARRIA SIMMONS with a ride back to her residence.

36. On October 24, 2024, a SWAT team entered the PLAINTIFFS’ residence without adhering to
proper knock-and-announce procedures, executing a search warrant taken against PLAINTIFF
TEARRIA SIMMONS, which the PLAINTIFFS believed was intended to search for and subsequently
arrest PLAINTIFF CLINTON SIMMONS, who was found upstairs.

37. The search warrant, dated October 22, 2024, was taken against PLAINTIFF TEARRIA
SIMMONS the same day she provided DEFENDANTS, officers with the HURRICANE POLICE
DEPT., with written consent to search and the same day on which a search was conducted at the
residence, which resulted in no findings of criminal conduct, no criminal charges, nor any arrests.

38. The search warrant lacked reasonable particularity and was invalid on its face, as it failed to
put the PLAINTIFFS on reasonable notice of what items were allowed to be searched for and seized,
where the officers could look for those items, and upon what grounds the officers believed they had
enough evidence to demonstrate probable cause sufficient to support an application for a search
warrant.

39, The search warrant stated that the residence at 18 Hurricane Creek Rd. was the subject of the
search. There was no search warrant for the upstairs apartment which PLAINTIFF BILLY LEE
CORAM leases as his residence and which is clearly marked by a metal sign on the door which says,
“No Trespassing, Private Property,” nor was a search warrant served on PLAINTIFF BILLY LEE

CORAM.

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40. PLAINTIFF CLINTON SIMMONS was located and arrested during the search and at the time
of the arrest DEFENDANT PATROLMAN CARR punched him in his face and head multiple times.

4]. Also, during the search, OFFICER DEFENDANTS subjected the entire family, including the
minor children, to verbal abuse, PLAINTIFF TEARRIA SIMMONS’ phone, an Apple iPhone 11 pro
max model with 256 gigabyte’s storage capacity, was destroyed, and property belonging to
PLAINTIFF BILLY LEE CORAM totaling approximately $250.00 was unlawfully seized. No charges
resulted from the search warrant, although the property was never returned.

42. The abusive comments made toward PLAINTIFF TEARRIA SIMMONS, in the presence of
her minor children, were extreme and outrageous, of an especially harmful and offensive nature, and
have caused the entire family to suffer from severe emotional distress,

43, DEFENDANT DENISON later visited the jail, in another attempt to interview PLAINTIFF
CLINTON SIMMONS, under coercive circumstances, but he refused to speak with her.

44. PLAINTIFFS subsequently allowed DEFENDANT DENISON to return to their home and
complete the interview during the first week of November 2024. The investigation revealed no
indications of abuse or neglect, and the referral was closed as unsubstantiated on November 23, 2024.

45. The incidents which occurred between September 18, 2024, and November 1, 2024, relating to
the conduct of the DEFENDANT OFFICERS with the HURRICANE POLICE DEPT. and CPS
Worker, DEFENDANT DENISON, caused significant emotional distress to all PLAINTIFFS,
particularly the minor children, who now suffer from anxiety, fear, and psychological trauma relating to
these incidents.
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LEGAL ALLEGATIONS AND CLAIMS FOR RELIEF

I. CLAIMS FALLING UNDER THE ORIGINAL JURISDICTION OF THIS COURT,
PURSUANT TO 28 U.S.C. §§ 1331 AND 1343(c¢):

FIRST CAUSE OF ACTION
UNREASONABLE SEARCH AND SEIZURE: INVALID SEARCH WARRANT, in Violation of
The Fourth Amendment of The United States Constitution, Pursuant to 42 U.S.C. §1983; Brought
by all PLAINTIFFS against all DEFENDANTS, in their individual capacities, EXCLUDING
DEFENDANT DENISON

46. The factual allegations in paragraphs one through forty-five in this complaint are hereby
reasserted and incorporated by reference as though fully set forth herein.

47. Pursuant to 42 U.S.C. §1983, citizens who allege a deprivation of their civil rights by a
person or persons acting under the color of the law or by governmental entity are entitled to bring a

cause of action for damages against the offending parties in the Federal District Court.
48. Reading in relevant part, 42 U.S.C. §1983 says:

Every person who, under color of any statute, ordinance, regulation,
custom, or usage, of any State or Territory or the District of Columbia,
subjects, or causes to be subjected, any citizen of the United States or
other person within the jurisdiction thereof fo the deprivation of any
rights, privileges, or immunities secured by the Constitution and laws,
shall be liable to the party injured in an action at law, suit in equity, or
other proper proceeding for redress.

- 420U.S.C. §1943 (emphasis added)

49. Pursuant to 42 U.S.C. §1983, the presence of two (2) elements must be established for a
party to bring a civil claim for deprivation of their Constitutional Rights. Those elements are:

i. The depriving party [Defendant] was acting under the color of state law; and
ii. He did, in fact, deprive the Plaintiff of his Constitutional Rights.

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50. On October 24, 2024, the DEFENDANTS, SCOTT EDWARDS, MAYOR, CHIEF
MICHAEL MULLINS, CORPORAL BRETT JOHNSON, PATROLMAN PAYTON CARR,
PATROLMAN W.D. ALLEN, SERGEANT MAKENZIE WHITE, DETECTIVE
JONATHON PAYNE, AND OFFICER JOHN DOES 1-10, INCLUSIVE were all duly-elected
or duly-appointed officials or sworn officers with the DEFENDANT CITY OF HURRICANE, a
municipality formed and operating under the laws of the state of West Virginia, and were acting
under the scope of their duties and obligations as state actors; therefore, they were acting under the
color of state law when they did serve upon PLAINTIFF TEARRIA SIMMONS a search warrant
dated October 22, 2024, signed by a certain Magistrate Linda Hunt, of Putnam County, which was
defective on its face and, therefore, invalid, in violation of each and every PLAINTIFFS’
Constitutional Rights.

51. The Fourth Amendment of the Constitution of the United States of America guarantees each
citizen the right to a reasonable expectation of privacy, the right to be free from unreasonable
governmental intrusion, and the right to be free from unreasonable searches and seizures, reading:

“The right of the people to be secure in their persons, houses, papers,
and effects, against unreasonable searches and seizures, shall not be
violated, and no Warrants shall issue but upon probable cause, supported
by Oath or affirmation, and particularly describing the place to be searched,

and the persons or things to be seized.”
- Fourth Amendment, U.S. Constitution (emphasis added)

59. The PLAINTIFFS, unfortunately, do not know what probable cause the warrant was issued
on, because the face of the warrant, which was the only document which DEFENDANTS served
upon PLAINTIFF TEARRIA SIMMONS during the execution of said warrant at her residence on
October 24, 2024, only referred to attachments A, B, and C, and did not state with reasonable

particularity or specificity any of the items to be searched for and seized, where the officers could

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search for the items, or on what grounds the applicant had sufficient probable cause to be issued a

search warrant for the residence.

53. In fact, aside from the date, PLAINTIFF TEARRIA SIMMONS name, the name of the
county, the PLAINTIFFS’ complete address, the applicant’s name (DEFENDANT CORPORAL
BRETT JOHNSON) and signature, the Magistrate’s signature, and see attachments “A/B/C,” the
only other words on the search warrant that are not a standard included typed part of the form are the

words “white residence photo A,” and literally nothing else.

54. While the warrant may, or may not, have been issued on valid grounds, the PLAINTIFFS
have no way to know that, or to know what areas the officers were permitted to search, nor what

items they were permitted to seize.

55. The warrant affidavit and complaint states only PLAINTIFF TEARRIA SIMMONS?’ name
as the person on whom the complaint was being sworn against and under the section of the warrant
asking what unlawful offense the person named on the warrant had committed prior to the filing of
the affidavit and complaint, the document reads only “See Attachment A,” and subsequently, no

“Attachment A” is provided.

56. Under the section of the warrant asking what particular property the affiant reasonably
believes is being kept/concealed/controlled/possessed and is designed for use in or is evidence of a
crime and that is likely to be located during the search and thus is to be seized, the document reads

only, “See Attachment B,” and subsequently, no “Attachment B” is provided.

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57. Under the section of the warrant asking in what particular location the search for the named
property is to be conducted, the document reads only: “18 OLD HURRICANE CREEK RD.

HURRICANE, PUTNAM COUNTY, WV WHITE RESIDENCE PHOTO A.”

58. Under the section of the warrant that asks upon what facts the applicant believes that there is
probable cause to search that location, the document reads only, “See Attachment C,” and

subsequently, no “Attachment C” is provided.

59. Though the search warrant’s supporting affidavit may, or may not, list the types of items
that the officers intended to seize, the specific location inside the residence in which the items were
to be searched for, and the grounds on which DEFENDANT CORPORAL B. JOHNSON had
probable cause to believe those particular items would be located in those particular areas within the
residence, the search warrant itself did not describe any of that information and failed to include the
referenced attachments. When an affidavit is needed to render the search warrant itself valid, the

affidavit must be served on the person who is being searched aft the time the warrant is served.

60. There is no evidence that the application or affidavit was brought along on the search, or that

any of the officers performing the search had a copy of the attachments with them.

61. DEFENDANT CORPORAL B. JOHNSON prepared the application for the warrant, but
there is no evidence that he told anyone else who was to execute the search what it said or that any
one of the DEFENDANTS conducting the search at the residence on October 24, 2024, were looking
for any particular property to seize in any specific location. Rather, they searched each room, high
and low, up and down, in closets, in drawers, under beds, in kitchen cabinets, in the bathroom,

kitchen, and children’s rooms, looking through each room of the residence carefully, taking nothing

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obvious, and when asked what they were searching for or about the attachments describing the
property to be seized, no one could answer sufficiently to demonstrate that they had knowledge of

any particular item they were looking for or that the court had approved for seizure, telling the
PLAINTIFFS to ask DEFENDANT CORPORAL JOHNSON, as he had prepared the warrant.

62. Each and every DEFENDANT in this matter had a duty to read the warrant and satisfy
themselves as to its scope and that it was, in fact, a valid warrant, and by failing to do so they acted
under the color of state law, and while so doing, deprived each and every PLAINTIFF of their
Fourth Amendment rights. Additionally, DEFENDANT CITY OF HURRICANE, MAYOR SCOTT
EDWARDS, AND CHIEF MICHAEL MULLINS are liable for this conduct, pursuant to the Monell

Doctrine and the doctrine of supervisory liability.

63. Each and every DEFENDANT acted willfully, wantonly, maliciously, or with reckless
disregard to the Constitutional Rights of the PLAINTIFFS and knew, or reasonably should have
known, that they were violating the PLAINTIFFS’ Constitutional Rights but did so anyway, and
therefore the imposition of exemplary and punitive damages is warranted here, with the exception of

CITY OF HURRICANE.

64. The PLAINTIFFS seek compensatory damages, pecuniary damages, exemplary or punitive
damages (excluding CITY OF HURRICANE), and/or treble damages, in a reasonable amount to be
determined at the time of trial, and/or any other such relief that this Court may deem to be just and
proper.

65. The PLAINTIFFS also request that any costs they may incur for this cause of action be paid

by the DEFENDANTS.

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SECOND CAUSE OF ACTION
UNREASONABLE SEARCH AND SEIZURE: JUDICIAL DECEPTION, in Violation of The
Fourth Amendment of The United States Constitution, Pursuant to 42 U.S.C. §1983; Brought by
all PLAINTIFFS against DEFENDANT CORPORAL BRETT JOHNSON, a sworn officer with the
HURRICANE POLICE DEPT., in his individual capacity, as well as DEFENDANTS CITY OF
HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF MICHAEL MULLINS, in their individual
capacities

66. The factual allegations in paragraphs one through forty-five in this complaint are hereby

reasserted and incorporated by reference as though fully set forth herein.

67. Pursuant to 42 U.S.C. §1983, citizens who allege a deprivation of their civil rights by a
person or persons acting under the color of the law or by governmental entity are entitled to bring a
cause of action for damages against the offending parties in the Federal District Court, and must
establish the same two elements as stated in the first cause of action, paragraphs forty-six through

sixty-five.

68. On October 22, 2024, DEFENDANT CORPORAL BRETT JOHNSON, HURRICANE
POLICE DEPT., a sworn officer in his individual capacity, did appear in person at the Magistrate
Court in Putnam County, West Virginia, to affirm under oath the facts that served as probable cause
for an application to be issued a search warrant, which he intended to execute against the

PLAINTIFES at the residence located at 18 Hurricane Creek Road, Hurricane.

69. To obtain a search warrant, a law enforcement officer must show probable cause that a crime
has been committed and that items related to that crime are likely to be found in the place specified in

the warrant.

70. In deciding whether to issue a search warrant, a judge generally relies on the facts stated in

a warrant affidavit signed by a sworn law enforcement officer under penalty for perjury.

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71. In assessing whether a Defendant has violated a Plaintiff's rights under the Fourth

Amendment by means of Judicial Deception, there are two factors to be considered:

i. Whether the Defendant submitted to a judge a warrant affidavit that contained one or
more misrepresentations or omissions material to the finding of probable cause; and

ii. Whether the Defendant made those misrepresentations or omissions either
intentionally or with reckless disregard for the truth.

72. The Plaintiff must demonstrate that the judge would not have issued the warrant if the
[false] information had been excluded (or redacted), or if the omitted or missing information had
been included (or restored).

73. Fora search warrant application to be considered reasonable, the applicant must
demonstrate that with all information known to him at such time in which he presents the
application to the Court, an objectively reasonable police officer would conclude there is a fair
probability that contraband or evidence of a crime will be found in the place to be searched, a fair
probability that the item to be seized is contraband or evidence of a crime, or a fair probability
that the person to be seized has committed or was committing a crime.

74. In the context of this claim, a “reckless disregard for the truth” means highly
unreasonable conduct that is an extreme departure from ordinary care, presenting a danger of
misleading a reasonable judge into concluding that probable cause has been established, when
that danger is either known to the Defendant or is so obvious that the Defendant must have been
aware of it.

75. On October 22, 2024, PLAINTIFF TEARRIA SIMMONS, consented to Patrolman

Vickers walking through the residence in her presence, to conduct a visual inspection of said

residence, and no contraband was immediately found at such time.

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76. Also on October 22, 2024, PLAINTIFF TEARRIA SIMMONS provided DEFENDANT
PATROLMAN CARR and other agents or officers with the HURRICANE POLICE DEPT. with
express, written consent to conduct a search of the residence for the sole purpose of locating her
husband, PLAINTIFF CLINTON SIMMONS, who had an active warrant for failure to appear in
court to answer to misdemeanor offenses. A search was conducted thereafter in accordance with
the written consent and neither PLAINTIFF CLINTON SIMMONS nor any other contraband were
located in the residence at such time.

77. The PLAINTIFFS are unaware as to what explicit grounds DEFENDANT CORPORAL
BRETT JOHNSON stated as evidence to support his claim that there was probable cause to be
issued a search warrant for their residence because they have not been permitted to see the
supporting affidavit or attachments.

78. PLAINTIFFS reasonably believed that it was stated by DEFENDANT CORPORAL
BRETT JOHNSON that he had special knowledge that a person who had committed a crime,
namely PLAINTIFF CLINTON SIMMONS, and for whom there was an active warrant, was inside
the residence. This would have been sufficient, reasonable grounds for probable cause without the
additional context of the events that had unfolded at the residence on that very same day, likely
only moments before DEFENDANT CORPORAL BRETT JOHNSON went to the Magistrate
court in Putnam County to apply for the warrant, and if the only thing to be searched for and
seized inside the residence on October 24, 2024, was PLAINTIFF CLINTON SIMMONS.

79. There is no evidence to indicate that DEFENDANT CORPORAL BRETT JOHNSON,
nor any other agent or officer with the HURRICANE POLICE DEPT., had any reason to believe

PLAINTIFF CLINTON SIMMONS was inside the residence after conducting multiple searches

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and visual walk-throughs of the residence on October 22, 2024, knowing that officers had failed to
locate him at that time; nor is there any evidence that officers were specifically looking for any
other evidence of a crime nor that they had probable cause to do so.

80. It eludes the PLAINTIFFS as to how, after two separate law enforcement officers with
the HURRICANE POLICE DEPT. had conducted walk-throughs and visual inspections of the
residence and a search had been conducted, with the express and explicit written consent of
PLAINTIFF TEARRIA SIMMONS, on the very same date in which DEFENDANT CORPORAL
BRETT JOHNSON appeared at the Putnam County Magistrate Court to apply for the search
warrant, DEFENDANT CORPORAL JOHNSON could assert that, with all information known to
him at such time in which he presented the application to the Court, there was a high probability
that PLAINTIFF CLINTON SIMMONS could be located inside the residence he had requested the
search warrant for if he provided the full truth and facts on the application.

81. When examining the totality of the facts, facts known to DEFENDANT CORPORAL
BRETT JOHNSON at the time he applied for the search warrant, that on the same date he and
other agents or officers with the HURRICANE POLICE DEPT. had received written consent to
and subsequently did conduct a search of the residence and had located neither PLAINTIFF
CLINTON SIMMONS nor any other contraband or evidence of a crime, no objectively reasonable
police officer could have concluded that there was a fair probability that contraband or other
evidence of a crime nor the persons accused of committing them, namely PLAINTIFF CLINTON
SIMMONS, would be found in the place to be searched.

82. There is no evidence or reason to believe that DEFENDANT CORPORAL BRETT

JOHNSON, could affirm before the court, with all information and facts known to him at the

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time he applied for the search warrant, under oath, that there was a fair probability that any items
in the home would constitute contraband or evidence of a crime.

83. There is additionally no evidence to demonstrate that a reasonably objective police
officer would have concluded that there was a high probability that PLAINTIFF TEARRIA
SIMMONS had committed or was committing a crime, considering the walkthroughs at the
residence and the written consent she had provided, as well as the fact that Patrolman Vickers, an
officer with the HURRICANE POLICE DEPT., had just taken PLAINTIFF TEARRIA
SIMMONS to Magistrate Court to answer to a criminal complaint, and had subsequently taken
her back to the residence after she was released from the court on bail, indicating that
DEFENDANT CORPORAL BRETT. JOHNSON knew she was not wanted or suspected of the
commission of any further criminal conduct or activity that could be discovered upon the
execution of pet another search on the residence less than two full days later.

84, PLAINTIFFS were subjected to so many searches, walkthroughs, and visual inspections
of their residence, none of them which were desired by the PLAINTIFFS, in such a short period
of time that additional searches became unreasonable, as any contraband or evidence of a crime
should have been detected and addressed on at last one of the prior inspections of the home.

85. DEFENDANT CORPORAL BRETT JOHNSON acted with a “reckless disregard for the
truth:” his conduct was highly unreasonable and an extreme departure from ordinary care as the
PLAINTIFFS reasonably believe that he intentionally misrepresented and omitted the fact that he,
or other agents or officers with HURRICANE POLICE DEPT., had, on that same date, conducted
walkthroughs and visual inspections and carried out a search at the same residence and located

absolutely no evidence of a crime nor any illegal contraband.

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86. Had the Magistrate known the accurate facts and omissions, there is a high probability
that she would not have issued the search warrant to the applicant, as it is unreasonable to think
only a few hours later something different would now be present within the residence, and as it is
unreasonable to subject citizens to so many such intrusions within such a short timeframe.

87. DEFENDANT CORPORAL BRETT JOHNSON’S conduct presented a danger of
misleading, and, in fact, did mislead a reasonable judge, namely Magistrate Linda Hunt, into
concluding that probable cause had been established, and DEFENDANT CORPORAL BRETT
JOHNSON knew, or reasonably should have known, that he would mislead her, because it is So
obvious that he must have been aware of that fact. Additionally, DEFENDANTS CITY OF
HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF MICHAEL MULLINS are liable for
this conduct, pursuant to the Monell Doctrine and the doctrine of supervisory liability.

88. DEFENDANT CORPORAL BRETT JOHNSON acted willfully, wantonly, maliciously,
or with reckless disregard to the Constitutional Rights of the PLAINTIFFS and knew or should
have reasonably known that he was violating PLAINTIFFS’ Constitutional Rights but did so
anyway, and therefore the imposition of exemplary and punitive damages is warranted, with the
exception of CITY OF HURRICANE.

89, The PLAINTIFFS seek compensatory damages, pecuniary damages, exemplary or
punitive damages (excluding CITY OF HURRICANE), and/or treble damages, in a reasonable’
amount to be determined at the time of trial, and/or any other such relief that this Court may deem
to be just and proper.

90. PLAINTIFFS also request that any costs they may incur for this cause of action be paid

by the DEFENDANT.

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THIRD CAUSE OF ACTION

UNREASONABLE SEARCH AND SEIZURE: VIOLATION OF THE KNOCK-AND-
ANNOUNCE REQUIREMENT, Falling Under the Reasonableness Standard, in Violation of The
Fourth Amendment of The United States Constitution, Pursuant to 42 U.S.C. § 1983; Brought by
all PLAINTIFFS against ALL DEFENDANTS, in their individual capacities, EXCLUDING
DEFENDANT DENISON

91. The factual allegations in paragraphs one through forty-five in this complaint are hereby
reasserted and incorporated by reference as though fully set forth herein.

92. Pursuant to 42 U.S.C. §1983, citizens who allege a deprivation of their civil rights by a person
or persons acting under the color of the law or by governmental entity are entitled to bring a cause of
action for damages against the offending parties in the Federal District Court, and are required to prove
the same elements for such as set forth in the first cause of action, paragraphs forty-six through sixty-
five, and second causes of action, paragraphs sixty-six through ninety, herein.

93. On October 24, 2024, the DEFENDANTS, SCOTT EDWARDS, MAYOR, CHIEF
MICHAEL MULLINS, CHIEF OF THE HURRICANE POLICE DEPT., CORPORAL BRETT
JOHNSON, PATROLMAN PAYTON CARR, PATROLMAN W.D. ALLEN, SERGEANT
MAKENZIE WHITE, DETECTIVE JONATHON PAYNE, and OFFICER JOHN DOES 1-10,
INCLUSIVE, were all employees, duly-elected, or duly-appointed officials of the DEFENDANT
CITY OF HURRICANE, a municipality formed under the laws of the State of West Virginia, and were
acting under the scope of their duties and obligations as state actors. They were, therefore, acting under
the color of state law when they did enter the PLAINTIFFS’ home via the rear entrance, without
knocking and announcing their presence, and by entering without breaking, to serve a search warrant
upon PLAINTIFF TEARRIA SIMMONS, in violation of the reasonableness standard of the Fourth

Amendment of the U.S. Constitution.

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94. The Fourth Amendment of the Constitution guarantees us the right to a reasonable expectation
of privacy in the home. Thus, even when a valid search warrant has been obtained, law enforcement
officers must still adhere to certain requirements regarding the manner in which they are permitted to
move forward with entry to the home and the subsequent search.

95. One such requirement of law is that an agent or officer who arrives at a residence with the
intention of conducting a legally valid search warrant at the residence cannot just force entry into the
home; rather, they must still knock on the door, announce their presence to the homeowners or residents
inside, and state their purpose. This is to allow the search to unfold with minimal disruption and to
protect the rights and safety of homeowners and law enforcement officers alike and is part of the
reasonableness standard of the Fourth Amendment.

96. Ifthe homeowner or resident does not hear the knock and announce or simply refuses to
acknowledge the presence of law enforcement at their home and subsequently refuses to answer the
door, law enforcement officers are required to wait a reasonable period of time before gaining entry into
the residence via the use of force. The amount of time which is considered “reasonable” can only be
determined by the individual facts and circumstances of each specific case.

97. There are a few exceptions in which the knock and announce requirement may be said to not

apply. These are:

1, When an officer is actively pursuing a suspect;
il. If the officer reasonably believes that someone inside the residence is armed;
iii. If the officer reasonably believes that someone inside the residence will react
violently; or
iv. If the officer reasonably believes that the suspect will destroy or attempt to destroy
evidence,
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98. Unless the situation clearly warrants a deviation, with a reason that can be clearly articulated,
the knock and announce rule must be adhered to in order to fulfill the reasonableness standard of the
Fourth Amendment, and because none of the above-noted exceptions apply to the case at hand, the
DEFENDANTS had a duty under Constitutional law to knock on the door of the residence, announce
their presence and intentions before entering, and if no one responded to them, to then wait a reasonable
amount of time before forcing entry or gaining access to the residence in some other way.

99. In the matter at hand, when the DEFENDANTS arrived at the residence, they did not knock or
announce their presence to the homeowners or residents until they were already inside of the home’s
kitchen, at which point they only then began yelling, “Search Warrant.

100. Prior to such time as the DEFENDANTS (or agents or officers acting on behalf of the
DEFENDANTS), were standing in her kitchen, PLAINTIFF TEARRIA SIMMONS, who was sitting in
the dining room, was oblivious to their presence on her property.

101. For context, the dining room is the midpoint between both the front and rear entrances of the
residence and the home has an open-floorplan style, so it is immensely improbable that PLAINTIFF
TEARRIA SIMMONS simply did not hear their knock and announcement, yet PLAINTIFF TEARRIA
SIMMONS did not know law enforcement was present on her property, nor that they intended to enter
the residence until such time as they were already inside.

102. The only persons who knew law enforcement was outside the residence and were attempting
to gain entry to the home were the minor children and PLAINTIFF BILLY LEE CORAM, who was
pulled off to the side of the home by DEFENDANT SERGEANT MAKENZIE WHITE, who pulled him
off the rear deck by his arm and forced him to remain quiet, and whom did not have the authority to give

consent to law enforcement to enter the main part of the home as he only resided in the upstairs

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apartment and leased rights to use a portion of the basement, and who informing of their presence and
intent to enter the main residence would not have been sufficient to meet the constitutional requirement
for knocking and announcing their presence.

103. The DEFENDANTS knew, or reasonably should have known through their training as law
enforcement officers, that they were required to knock and announce their presence, even with a valid
search warrant in hand, and that if they did not do so it would be in violation of the homeowners’
Constitutional Rights and would place all parties involved at an unreasonable risk of harm, including the
minor children who reside there.

104. The DEFENDANTS did, in fact, deprive the PLAINTIFFS of their rights to a reasonable
expectation of privacy in their home and the manner in which they conducted themselves rendered this
search unsafe and unreasonable within the meaning of the Fourth Amendment of the U.S. Constitution.
Additionally, DEFENDANTS CITY OF HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF
MICHAEL MULLINS are liable for this conduct, pursuant to the Mone// Doctrine and the doctrine of
supervisory liability.

105. The DEFENDANTS acted willfully, wantonly, maliciously, or with reckless disregard to the
Constitutional Rights of the PLAINTIFFS and knew, or should have reasonably known, that they were
violating PLAINTIFFS’ Constitutional Rights, but did so anyway, and therefore the imposition of
exemplary and punitive damages is warranted, with the exception of the CITY OF HURRICANE.

106. PLAINTIFFS seek compensatory, pecuniary, exemplary or punitive damages (excluding
CITY OF HURRICANE), and/or treble damages, in a reasonable amount to be determined at the time of

trial, and/or any other such relief as this Court may deem to be just and proper.

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107. PLAINTIFFS additionally request that any costs they may incur for this cause of action be
paid by the DEFENDANTS.

FOURTH CAUSE OF ACTION
UNREASONABLE SEARCH: COERCED ENTRY/INVALID CONSENT, in Violation of The
Fourth Amendment of The United States Constitution, Pursuant to 42 U.S.C. § 1983; Brought by
all PLAINTIFFS against DEFENDANT ALYSON DENISON, in her individual capacity

108. The factual allegations in paragraphs one through forty-five in this complaint are hereby
reasserted and incorporated by reference as though fully set forth herein.

109, Under 42 U.S.C. §1983, citizens who allege a deprivation of their civil rights by a person or
persons acting under the color of the law or by governmental entity are entitled to bring a cause of action]
for damages against the offending parties in the Federal District Court, and are required to prove the
elements for such as set forth in each of the above causes of action, paragraphs forty-six through one-
hundred seven, herein.

110. DEFENDANT ALYSON DENISON is an employee of the West Virginia Department of
Health and Human Resources, Bureau for Social Services, Office of Children and Adult Services,
located at 12531 Winfield Rd. Winfield, in Putnam County, in the Southern District, where she is
employed as a Child Protective Services worker. As such, she is a state actor, and as she was acting
under the scope of her duties and obligations of employment, was acting under the color of state law
during all times relevant to this Complaint.

111. DEFENDANT DENISON was told on October 21, 2024, upon her first visit to the
PLANTIFES’ home, that she could not enter the residence, and that PLAINTIFF TEARRIA SIMMONS
did not wish to continue answering her questions because she needed to speak with an attorney before

completing the interview.

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112. The Child Protective Services Policy Handbook (2022) sets out the procedures for child
protective services workers throughout the referral and investigation process, offering services, and
court processes, as well as mandatory conduct the employee must engage in to protect the rights of the
families they encounter. It requires that the worker ask the family if they are represented by legal
counsel at the time of the initial encounter (“initial,” as it relates herein, meaning the first time the
family meets the worker). If the family indicates that they do have an attorney, or wish to retain one, the
worker is supposed to stop attempting to conduct the interview and not ask any further questions of the
family until they receive consent from the family’s attorney to do so, in accordance with the Gibson
Decree. Gibson v. Ginsberg, 989 F. Supp. 772, 774 (S.D. W. Va. 1996).

113. DEFENDANT DENISON clearly had knowledge that the PLAINTIFFS wished to confer
with an attorney because PLAINTIFF TEARRIA SIMMONS expressly told her so when she requested
an opportunity to confer with counsel prior to completing the interview.

114. DEFENDANT DENISON, however, did not follow protocol for the situation as outlined in
the Child Protective Services Policy Handbook (2022) or the U.S. Constitution and instead elected to
continue trying to conduct an interview of the PLAINTIFFS and attempting to gain access to their home.

115. The Child Protective Services Policy Handbook (2022) additionally outlines the process for
notifying the family of their rights and responsibilities during the investigation process. DEFENDANT
DENISON did not comply with the protocol set forth in this handbook at any point during initial
contact.

116. DEFENDANT DENISON did not inform the family of their right to be free from intrusion
into their home, of the right to be informed of the allegations made against them, and did not inform

them of those allegations upon initial contact. She did not inform them of their right to refuse services

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nor did she inform them of their right to review the information collected during the investigation. She
did not provide the family with any educational materials or of their right to consult with an attorney.

117. On October 22, 2024, after being told the day before that the PLAINTIFFS needed some
time to confer with an attorney prior to allowing an interview to be conducted, DEFENDANT ALYSON
DENISON took it upon herself to personally appear at the HURRICANE POLICE DEPT. and request
background checks on the PLAINTIFFS and did inform DEFENDANT PATROLMAN PAYTON
CARR at that time that she was aware of a warrant for PLAINTIFF TEARRIA SIMMONS’ arrest.

118. The PLAINTIFFS are informed and reasonably believe that DEFENDANT DENISON’s
intent was that both PLAINTIFF parents of the three minor children named as PLAINTIFFS herein
would be arrested and subsequently taken to jail, even if only for an hour or two, leaving the children
with no party to provide care or supervision.

119. As DEFENDANT PATROLMAN PAYTON CARR approached the residence by vehicle to
initiate the arrest of PLAINTIFF TEARRIA SIMMONS, DEFENDANT ALYSON DENISON followed
him and parked her car at the gas station (Sheetz) across the street from the residence to conduct
surveillance of the incident until such time as she saw PLAINTIFF TEARRIA SIMMONS being
escorted from the residence, accompanied by DEFENDANT PATROLMAN CARR.

120. After being denied entry the day prior so that the PLAINTIFFS could consult an attorney, she
placed the PLAINTIFF in a situation where she was under significant duress and threatened to take her
children from the home if she did not permit her to conduct a full walkthrough and visual inspection of
every room of the residence to ensure it would be safe for the children and to make sure an adult would

be there to supervise them, despite DEFENDANT PATROLMAN CARR informing her that

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PLAINTIFF BILLY LEE CORAM was present in the residence and would be watching the children for
the short time PLAINTIFF TEARRIA SIMMONS would be gone.

121. DEFENDANT DENISON coerced PLAINTIFF TEARRIA SIMMONS into consenting to
her search of the residence, intentionally causing her to feel as if she had no other choice but to allow the
DEFENDANT to conduct an unreasonable and unnecessary search on her residence, a search that she
would not have consented to had she not been under duress and, in fact, had refused to consent to the
day prior.

122. PLAINTIFF TEARRIA SIMMONS was essentially told that she had to either waive her
rights under the Fourth Amendment of the Constitution or have her children taken away from her. The
only reason for the threatened removal of the children was because PLAINTIFF TEARRIA SIMMONS
had to go to the courthouse to answer a misdemeanor complaint and not because there was any evidence
of abuse or neglect of the children.

123. Only where valid consent is given may a search be conducted without a warrant and without
probable cause.

124. A consent to search is valid if the search is “voluntary,” which means it was free of coercion
or duress. In order for the consent to be “voluntary” it must be free of coercion and also the consent
must be made while knowing the right to refuse consent, limit the scope of consent, and/or withdraw
consent at any time.

125, DEFENDANT DENISON knew, or reasonably should have known, that she was placing
PLAINTIFF TEARRIA SIMMONS under immense duress and coercing her into granting access to the

family’s home and she knew, or reasonably should have known, that PLAINTIFF TEARRIA

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SIMMONS did not want to grant her access to the home, at least not without an opportunity to first
confer with an attorney, because she was informed of as much on the day prior.

126. DEFENDANT DENISON knew, or reasonably should have known, that obtaining consent
from a party under duress ultimately would result in void and invalid consent and that without consent,
any search performed would be one in violation of the homeowner’s Fourth Amendment Rights.

127. Against Child Protective Services Policy, pursuant to the Gibson Decree (Gibson vy.
Ginsberg, 989 F. Supp. 772, 774 (S.D. W. Va. 1996)) and the Child Protective Services Policy
Handbook (2022), DEFENDANT DENISON did not stop her pursuit of obtaining the interview upon
being made aware of the PLAINTIFF having an attorney retained nor did she cease her efforts to gain
access to the family’s home.

128. DEFENDANT DENISON took it upon herself to decide that PLAINTIFF TEARRIA
SIMMONS was not entitled to her procedural and substantive due process rights to consult with an
attorney, to be informed of the allegations against her family, to being given proper notice of any action
taken on part of the worker in the scope of her duties, and that PLAINTIFF TEARRIA SIMMONS was
not entitled to her Fourth Amendment rights to a reasonable expectation of privacy in her home or to be
free of unreasonable searches.

129. Because of some sort of biased or misinformed personal perception of the PLAINTIFFS,
DEFENDANT DENISON did deprive each and every one of the PLAINTIFFS of their Constitutional
Rights while acting under the color of state law, in direct violation of 42 U.S.C. §1983.

130. A social worker is not entitled to sacrifice a family’s privacy and dignity to her own personal

views of the parents.

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131. To the extent there is or may be a condition precedent to filing suit in the form of exhausting
one’s administrative remedies prior to the initiation of a civil suit, PLAINTIFFS did exhaust their
administrative remedies, to the extent that those remedies were available to them.

132. On October 22, 2024, PLAINTIFF TEARRIA SIMMONS did, in fact, file a formal
complaint by calling the Client Services Hotline for the Bureau of Social Services, Department of Health
and Human Resources. She informed the employee who answered the phone and took the complaint of
the exact policy and page numbers in the Child Protective Services Policy Handbook (2022) which
DEFENDANT DENISON failed to follow, and provided details as to how the employee was otherwise
not in compliance with Child Protective Services policy.

133. A supervisor by the name of Chad Blankenship called PLAINTIFF TEARRIA SIMMONS
the day after the complaint was filed, October 23, 2024, but she missed the call. When she called back,
she was unable to get through to the supervisor and called multiple times thereafter, to no avail. The
supervisor never returned her call after that initial missed call, despite leaving many messages for him to
do so and providing other methods of contact for him (as PLAINTIFF TEARRIA SIMMONS’ usual
device, the Apple iPhone 11 Pro Max, was not functional) including two alternative phone numbers and
an email address.

134. The findings of the complaint PLAINTIFF TEARRIA SIMMONS filed on October 22, 2024,
with the Bureau are unknown to the PLAINTIFFS as of December 24, 2024, and the referral for
allegations of neglect or abuse made against the family was closed as unsubstantiated on November 23,
2024.

135. PLAINTIFFS have exhausted administrative remedies to the extent that they are available to

them, as a reasonable inquiry into the next steps in administrative complaint or grievance procedure

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revealed no substantive information as to how to proceed, and no official response was ever returned to
her regarding her filed formal complaint, either in person, by postal mail, email, or telephonically. With
the initial referral now closed, there is no further reason or need for the PLAINTIFFS to be in contact
with a worker from the Bureau and there is no expectation of future communication between the parties.

136. A reasonably competent person or public official should know the laws that govern their
conduct.

137. An official acts within their authority if the act in question, when performed for a proper
purpose, falls within or is reasonably related to the outer perimeter of their duties, such that a
“reasonably well-trained official would not have known that their conduct violated the law or that the
conduct went well beyond the clearly established scope of the official’s discretionary authority.”

138. A reasonably well-trained Child Protective Services worker would know that they are to
adhere to the Policy Handbook established for them by their agency employer.

139. A reasonably well-trained Child Protective Services worker would know that when a family
requests an opportunity to speak with an attorney prior to the interview, that it is within the family’s
Constitutional Rights to do so, and that they must allow them the time they need, in accordance with
their own policies and procedures as well as Federal law.

140. A reasonably well-trained Child Protective Services worker would understand that a family
experiences a multitude of emotions associated with the initial contact by a Child Protective Services
worker regarding allegations of abuse or neglect and, therefore, why it is so important to provide the
family with critical information and educational material, to help them better understand the process and

procedure for investigating a referral, and to inform the family of their rights.

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141. A reasonably well-trained Child Protective Services worker would understand that a family
has the right to decline any intrusion into their personal spaces and privacy, including refusing services
offered to them, and that attempting to usurp that right is unethical and illegal.

142. A reasonably well-trained Child Protective Services Worker would understand that placing a
parent under the duress of the reasonable belief that if they don’t comply with the worker’s demands for
them to waive their Constitutional Rights that they will have their children taken away from them due to
unfounded allegations and their own personal bias or perceptions of the family, is unethical and illegal.

143. A reasonably well-trained Child Protective Services worker would understand that going to
the Police Department and requesting personal and confidential information about a family prior to
conducting the initial interview because they requested some time to confer with their attorney, and
arranging an attempt be rid of the parents for a time and to subsequently remove their children from their
care, despite having no evidence that any abuse or neglect has occurred, is going beyond the scope of
their authority and discretion as a child protective services worker, a state actor, is illegal, and is
unethical.

144, DEFENDANT DENISON knew, or reasonably should have known, that she was acting
outside of the scope of her discretionary authority and the bounds of her role as a CPS worker because it
is so obvious that she must have been aware of it.

145. DEFENDANT DENISON acted willfully, wantonly, maliciously, or with reckless disregard
to the rights of the PLAINTIFFS, and she knew, or should have reasonably known, that she was
violating the PLAINTIFFS’ Constitutional Rights but did so anyway, and therefore the imposition of

exemplary and punitive damages is warranted.

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146. The PLAINTIFFS seek compensatory, pecuniary, exemplary or punitive, and/or treble
damages, in a reasonable amount to be determined at the time of trial, and/or any other such relief that
this Court may deem to be just and proper.

147. PLAINTIFFS additionally request that any costs they may incur for this cause of action be
paid by the DEFENDANT.

FIFTH CAUSE OF ACTION
MUNICIPAL LIABILITY FOR AN UNCONSTITUIONAL POLICY OR CUSTOM:
INADEQUATE LAW ENFORCEMENT OFFICER AND PUBLIC OFFICIAL TRAINING
POLICIES, CUSTOMS, TRADITIONS, PROCEDURES, AND/OR PRACTICES, Pursuant to 42
U.S.C. § 1983, brought under the MONELL DOCTRINE; Brought by all PLAINTIFFS against
DEFENDANT CITY OF HURRICANE, a municipality of PUTNAM COUNTY, WEST VIRGINIA

148. The factual allegations in paragraphs one through forty-five in this complaint are hereby
reasserted and incorporated by reference as though fully set forth herein.

149. The PLAINTIFFS assert that the DEFENDANT CITY OF HURRICANE, a municipality
of PUTNAM COUNTY, WEST VIRGINIA, through its Department, the HURRICANE POLICE
DEPT., an administrative arm of the CITY OF HURRICANE, is liable for the acts or omissions of its
employees, whom are state actors, and who, when acting pursuant to the policies, customs, practices,
traditions, or procedures as established by the DEFENDANT CITY OF HURRICANE and its
administrative arm, the HURRICANE POLICE DEPT., under the color of state law, violate or deprive
individuals of their Rights under the United States Constitution, where those actors are not properly
trained or supervised, due to the municipality’s faulty and widespread unconstitutional policies,
customs, practices, traditions, or procedures, pursuant to the Monell Doctrine (Monell v. Department of
Social Services, 436 U.S. 658 (1978)) and 42 U.S.C. §1983, as outlined in each and every count in this

complaint.

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150. It has been held that a municipality cannot be held liable under the theory of Respondeat
Superior for the actions of its employees alone. So, to bring a claim under the Monell! Doctrine, the
Plaintiff must demonstrate:

i. The violation of a constitutional right,
ii. By an official act;
iii. That resulted from a “government policy or custom.”

151. Mere allegations that a municipality has a policy or custom that violated a Plaintiff's rights
are insufficient to hold a municipality liable under 42 U.S.C. §1983; rather, it must be proven that the
policy or custom not only caused the complained-of Constitutional violation but exhibits a “deliberate
indifference” to citizens’ rights.

152. Plaintiffs can show a “governmental policy or custom” sufficient to establish municipal
liability under Monell in one of four ways. Plaintiffs can allege:

a. The existence of a formal policy which is officially endorsed by the municipality;

b. Actions taken or decisions made by municipal officials with final decision
making authority, which caused the alleged violation of plaintiff's civil rights;

c. A practice so persistent and widespread that it constitutes a custom of which
constructive knowledge can be implied on the part of the policymaking officials; or

d. A failure by policymakers to properly train or supervise their subordinates, amounting
to “deliberate indifference” to the rights of those who come in contact with the
municipal employees.

153. Here, the PLAINTIFFS allege that their Constitutional Rights were clearly violated by
officers, employees, officials, or agents acting on behalf of the municipality in the above-stated
COUNTS ONE THROUGH THREE, due to the municipality’s unconstitutional policies, practices,
customs, or traditions.

154. The PLAINTIFFS additionally assert that, according to the publicly available website for the

DEFENDANT CITY OF HURRICANE, its administrative arm, the HURRICANE POLICE DEPT.,

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employs a staff consisting of “eighteen sworn officers and two K9 officers, as well as two civilian staff
members.”

155. Out of the eighteen sworn officers and two K9 officers, at least one of the two K9 officers,
namely, DEFENDANT SERGEANT MAKENZIE WHITE, as well as the CHIEF OF THE
HURRICANE POLICE DEPT., CHIEF MUCHAEL MULLINS, sworn officers CORPORAL BRETT
JOHNSON, PATROLMAN PAYTON CARR, PATROLMAN W.D. ALLEN, DETECTIVE
JONATHON PAYNE, two officers who are not named as parties to this suit, namely Patrolman Vickers
and Patrolman Burton, and as many as four to eight other officers employed by HURRICANE POLICE
DEPT., CITY OF HURRICANE, were at the residence on October 24, 2024, during the execution of the
search warrant.

156. This evidences that somewhere between ten and fourteen of the eighteen law enforcement
officers employed by the HURRICANE POLICE DEPT., DEFENDANT CITY OF HURRICANE, were
present, plus one K9 Officer, and of those ten to fourteen, between ten and twelve law enforcement
officers with the HURRICANE POLICE DEPT. actively participated in the execution of the illegal and
invalid search warrant at the PLAINTIFFS’ residence on October 24, 2024.

157. Well over half of the employed agents or officers of the HURRICANE POLICE DEPT.,
acting as law enforcement officers for the DEFENDANT CITY OF HURRICANE, under the color state
law, assisted in the execution of a search warrant, in which they failed to read the content of the search
warrant they were acting on to determine its sufficiency and scope and to ensure it was not obviously
defective, either because they simply did not care whether the warrant was defective, did not know the
components of a valid search warrant and therefore found it to be sufficient, or because they were

content to just take someone else’s word for it.

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158. In addition to these law enforcement officers, the CHIEF OF THE HURRICANE POLICE
DEPT., CHIEF MICHAEL MULLINS, although he did not enter the residence, did make an
appearance in the PLAINTIFFS’ driveway while the search was underway and made no move to stop
or cease the activities, giving an obvious greenlight for the officers to continue their conduct.

159. In a later interaction between PLAINTIFF TEARRIA SIMMONS and DEFENDANT
PATROLMAN PAYTON CARR, PLAINTIFF TEARRIA SIMMONS asked him if he was aware that
the search warrant executed on her home on October 24, 2024, was invalid. He adamantly insisted it
was not.

160. The fact is that DEFENDANT PATROLMAN CARR had likely never even read the search
warrant or even believed he needed to read it. It is highly plausible that, considering the facts herein,
the other OFFICER DEFENDANTS were of the same attitude and belief, as they were trained such.

161. DEFENDANT PATROLMAN CARR asserted that West Virginia law overrules any federal
law or any decisions by the Supreme Court that would require them to provide the homeowner with
those attachments when they are needed to make the warrant valid on its face, and that pursuant to West
Virginia law, just serving them a piece of paper which says “See Attachments,” but has no attachments,
is sufficient. It is highly plausible that, considering the facts herein, the other OFFICER
DEFENDANTS were of the same attitude and belief, as they were trained such.

162. On October 24, 2024, while outside on the sidewalk awaiting the completion of the search
warrant on his home with DEFENDANT CHIEF MULLINS, CHIEF OF THE HURRICANE POLICE
DEPT., PLAINTIFF CLINTON SIMMONS asked DEFENDANT CHIEF MULLINS to see a copy of

the search warrant. DEFENDANT CHIEF MULLINS informed him that his wife had the warrant, and

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went on to further assert that they didn’t have to provide the homeowners with a copy of the warrant or
even allow them to see it.

163. These facts do not indicate that it is merely possible that the widespread policies, customs,
traditions, practices, and procedures of the HURRICANE POLICE DEPT., an administrative arm of the
DEFENDANT CITY OF HURRICANE demonstrate a deliberate indifference to the PLAINTIFFS’
Constitutional rights and that those policies, customs, traditions, practices, and procedures did, in fact,
cause the employees of the DEFENDANT CITY OF HURRICANE to deprive the PLAINTIFFS of or
violate the PLAINTIFFS’ Constitutional Rights; these facts indicate that it is more than plausible that
the DEFENDANT CITY OF HURRICANE knew, or should have reasonably known, that their
employees were being trained improperly and that such improper and inadequate training and
knowledge would surely result in the gross deprivation or violation of individuals’ Constitutional
Rights, yet they took no corrective action to stop the spread of such unconstitutional policies, customs,
traditions, practices, and procedures, even after an established pattern of such behavior became
apparent.

164. Where it may be difficult to say whether a custom or policy of a municipality or municipal
entity or a widespread custom or tradition of the same is the leading force behind the blatant violation
of an individual’s Constitutional Rights in situations where a single actor or a mere two to three actors’
conduct is in question, where three quarters of the Police Department and its CHIEF are all clearly
aware of the conduct, if not actively engaging in it themselves, and not one of them moves to question
the Constitutionality of their actions, it is clearly not a single, isolated, or sporadic instance of
unconstitutional conduct; rather, it is quite clear that the entirety of the Department has been trained to

believe their conduct is appropriate and that the inadequate training, policies, and widespread customs

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and traditions of the municipality or municipal entity are the obvious leading force behind the gross
violations of the citizens’ civil rights. Entities such as this, which fail to provide adequate training to its
employees, agents, or officers should be held liable for those acts committed by the employees, agents,
or officers acting on its behalf,

165. These facts indicate that a failure of policymakers to establish proper and adequate training
policies, practices, procedures, customs, and traditions or to properly train or supervise their
subordinates amounts to a “deliberate indifference” to the rights of those who come in contact with the
municipal employees, agents, or officers, and that there is a very high degree of plausibility that those
municipal employees, agents, or officers are, as a result of their inadequate training and supervision,
going to violate and deprive the individuals they come in contact with of their rights under the United
States Constitution, just exactly as these officers with the HURRICANE POLICE DEPT.,
administrative arm of the DEFENDANT CITY OF HURRICANE, have done to the PLAINTIFFS.

166. DEFENDANT CITY OF HURRICANE did act maliciously, wantonly, or with a reckless
disregard to the Constitutional Rights of the PLAINTIFFS, and they knew, or reasonably should have
known, that employees, agents, or officers acting under the color of state law on their behalf were
violating the PLAINTIFFS’ Constitutional Rights but did nothing to stop the spread of the customs,
policies, traditions, procedures or practices that caused their employees, agents, or officers to behave in
such a manner, or to properly train and supervise those employees, agents, or officers; therefore, a
finding of municipal liability under the Monell Doctrine and pursuant to 42 U.S.C. §1983, is warranted.

167. PLAINTIFFS seek monetary pecuniary or compensatory damages, in a reasonable amount
to be determined at the time of trial, and/or any other such relief that this Court may deem to be just and

proper.

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168. PLAINTIFFS also request that any costs they may incur for this cause of action be paid by
the DEFENDANT.

SIXTH CAUSE OF ACTION
SUPERVISORY LIABILITY for the Unconstitutional Conduct of Subordinates Acting Under the
Color of The Law, Pursuant to 42 U.S.C. §1983; Brought by all PLAINTIFFS against SCOTT
EDWARDS, MAYOR, CITY OF HURRICANE, and CHIEF MICHAEL MULLINS, CHIEF OP
HURRICANE POLICE DEPT., in their individual capacities.

169. The factual allegations in paragraphs one through forty-five in this complaint are hereby
reasserted and incorporated by reference as though fully set forth herein.

170. The PLAINTIFFS assert that DEFENDANTS MAYOR SCOTT EDWARDS and CHIEF
MICHAEL MULLINS, CHIEF OF POLICE, both fill supervisory positions within the municipality
of the CITY OF HURRICANE and HURRICANE POLICE DEPT., positions they have both presided
over since 2007, taking their positions simultaneously, nearly two decades ago now.

171. Pursuant to 42 U.S.C. §1983, citizens who have had their Constitutional Rights deprived by a
state actor can hold those responsible liable for damages by bringing a cause of action against them.
172. In cases where there is a superseding force or a dominating actor, agency, administration,
or municipality, which failed to detect, prevent, cease, or otherwise stop the deprivation of
Constitutional Rights, those tasked with the supervision of the depriving party can also be held
liable, pursuant to 42 U.S.C. §1983.
173. Respondeat Superior or “vicarious liability” theories are not available under 42 U.S.C.
§1983. In order to bring a claim under the doctrine of supervisory liability, as it is available,
pursuant to 42 U.S.C. §1983, the Plaintiff must demonstrate:

i. The supervisory Defendant acted under color of state law;
ii. The actions or failure to act of the supervisory Defendant’s subordinate deprived the
Plaintiff of particular rights under the laws of the United States Constitution; and

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iii. The supervisory Defendant directed his subordinates in the acts or lack of
action that led to the deprivation of the Plaintiffs Constitutional Rights.

iv.

Vi.

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Vili.

-OR -
Supervisory Defendant set in motion a series of acts by subordinates, or else
knowingly refused to terminate a series of acts by subordinates, that the supervisor
knew, or reasonably should have known, would cause the subordinates to deprive the
Plaintiff of their civil rights;
-OR -
The supervisory Defendant knew that the subordinates were engaging in these acts
and knew, or reasonably should have known, that the subordinate’s conduct would
deprive the Plaintiff of their civil rights; and
The supervisory Defendant failed to act to prevent the subordinates from engaging in
such conduct;
-OR -
The supervisory Defendant disregarded the known or obvious consequence that a
particular training deficiency or omission would cause his subordinates to violate the
Plaintiff's Constitutional Rights; and
That deficiency or omission actually caused the subordinates to deprive the Plaintiff
of their Constitutional Rights;
-OR -
The supervisory Defendant engaged in conduct that showed a reckless or
callous indifference to the deprivation by the subordinate of the rights of others;
-AND -
The supervisory Defendant’s conduct was so closely related to the deprivation of the
Plaintiff's rights as to be the moving force that caused the ultimate injury.

174. A person acts “under color of state law” when the person acts or purports to act in the

performance of official duties under any state, county, or municipal law, ordinance or regulation.

175. The deprivation of Constitutional Rights has already been clearly articulated and established in

Counts One through Five of this Complaint.

176. In this case, supervisory DEFENDANT, CHIEF MICHAEL MULLINS, CHIEF OF POLICE,

HURRICANE POLICE DEPT., knowingly refused to terminate a series of acts by subordinates, that

DEFENDANT CHIEF MULLINS knew, or reasonably should have known, as two-decade-running

celebrated CHIEF OF HURRICANE POLICE DEPT., would cause his subordinates to deprive

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PLAINTIFFS of their Constitutional Rights; and, his conduct was so closely related to the deprivation of
the PLAINTIFFS’ rights as to be the moving force that caused the ultimate injury.

177. One would reasonably believe that the CHIEF of a Municipal Police Department, after
seventeen years, surely would have a solid and thorough understanding of the Constitutional Rights of
the people he has taken an oath to protect and serve, and that he would ascertain those Rights are being
protected when engaging in Constitutionally-protected activities, such as conducting search warrants.
One would believe that when witness to the blatant and obvious deprivation of those citizens’
Constitutional Rights, the CHIEF OF POLICE would, of all people, be quick to react and respond, to
identify his subordinate’s unconstitutional conduct, and take affirmative action to correct it promptly,
carefully considering the consequences of his actions, especially for others, and the actions of his
subordinates as well.

178. Yet, on the day of October 24, 2024, while the search warrant, which was served invalid on
its face and which was executed so poorly a three-ring circus could have done it better, was executed,
the DEFENDANT CHIEF MULLINS, CHIEF OF POLICE, HURRICANE POLICE DEPT., was
waiting on the sidewalk as PLAINTIFF CLINTON SIMMONS was detained and brought outside the
residence, and then supervised the handcuffed PLAINTIFF on the front walkway as the search was
completed.

179, PLAINTIFF CLINTON SIMMONS asked DEFENDANT CHIEF MULLINS for a copy of
the search warrant which was currently being executed on his residence and the DEFENDANT CHIEF
MULLINS informed him that his wife had the warrant, then went on to further assert that they didn’t

have to provide the homeowners with a copy of the warrant or even allow them to see it at all.

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180. Not only did DEFENDANT CHIEF MULLINS make no move to cease or terminate the
actions of his subordinates as they violated the PLAINTIFFS’ Constitutional Rights, but he affirmed the
legality and lawfulness of their actions through his own conduct. His conduct could be easily interpreted
as directing the conduct of his subordinates, refusing to terminate the inappropriate conduct of his
subordinates, disregarding the known and obvious consequences of inadequate training regimens, and/or
acting with a callous indifference toward the rights of those harmed by his subordinates as a direct result
of deficient training.

181. The supervisory DEFENDANT CHIEF MULLINS knew that his subordinates were engaging
in these acts and knew, or reasonably should have known, as a long-standing, seasoned, and celebrated
CHIEF and the supervisor of this department, that his subordinate’s conduct would deprive the
PLAINTIFFS of their civil rights; and the supervisory DEFENDANT CHIEF MULLINS, failed to act
to prevent his subordinates from engaging in such conduct; in fact, did not indicate that there was
anything wrong with the manner in which his subordinates were handling the situation, and, in fact, took
no affirmative corrective action before, during, or after the incidents occurred.

182. The supervisory DEFENDANT CHIEF MULLINS’ conduct was so closely related to the
deprivation of the PLAINTIFFS’ rights as to be the moving force that caused the ultimate injury. As the
supervisory official, it was his responsibility to ensure that his subordinates knew what information was
required to apply for a valid and reasonable search warrant, what parts of the warrant face, application,
and affidavit needed to be served upon the property owners at the time of the search in order to render
the warrant valid on its face, the manner and conduct in which his officials should behave when
executing a search warrant on a citizen’s private property in order to protect the rights and safety of his

subordinates and the citizens.

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183. The failure of DEFENDANT CHIEF MULLINS, long-standing and celebrated CHIEF OF
HURRICANE POLICE DEPT., to cease and terminate the conduct of his subordinates, either because
he did not know or did not care that those acts were depriving the PLAINTIFFS of their Constitutional
Rights, where he reasonably should have known and acted to cease that conduct which his subordinates
were engaging in that was depriving the PLAINTIFFS of their Rights demonstrates a reckless disregard
for the PLAINTIFFS’ Rights and warrants the imposition of supervisory liability pursuant to 42 U.S.C.
§1983.

184. In the case of DEFENDANT SCOTT EDWARDS, MAYOR, CITY OF HURRICANE, in his’
celebrated, long-standing tenure as MAYOR, DEFENDANT EDWARDS is well-seasoned and has
played a substantial role in the development, establishment, supervision, and implementation of the
training customs, practices, procedures, and policies that impact the HURRICANE POLICE DEPT.,
CITY OF HURRICANE, during the seventeen years he has served as MAYOR of the CITY OF
HURRICANE.

185. After seventeen years of serving the CITY OF HURRICANE as MAYOR, DEFENDANT
EDWARDS knows, or reasonably should know, which training practices, procedures, and customs are
ineffective and inadequate and which training practices, procedures, and customs place citizens of the
CITY OF HURRICANE at risk of having their Rights deprived, especially after a pattern of similar
behavior is established, as is evidenced by other, similar causes of action filed within this Court, and this
is not the first time allegations such as these have been asserted against the Department and City.

186. SCOTT EDWARDS, MAYOR, CITY OF HURRICANE, the supervisory DEPENDANT,

disregarded the known or obvious consequence that a particular training deficiency or omission would

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cause his subordinates to violate PLAINTIFFS’ Constitutional Rights and that deficiency or omission
actually caused his subordinates to deprive the PLAINTIFFS of their Constitutional Rights;

187. It is the duty and responsibility of the MAYOR, supervisory DEFENDANT SCOTT
EDWARDS, to detect and correct training deficiencies that would cause his subordinates to engage in
conduct that violates the Constitutional Rights of the PLAINTIFFS, but DEFENDANT EDWARDS
failed to do so.

188. DEFENDANT EDWARDS’ failure to detect and correct the training deficiencies
implemented and established by himself and DEFENDANT CHIEF MULLINS, HURRICANE POLICE
DEPT., constitutes a reckless disregard for the Constitutional Rights of the PLAINTIFFS, and that
disregard did cause the PLAINTIFFS to be deprived of these Rights. The DEFENDANTS acted
wantonly, willfully, and with reckless disregard to the Rights of the PLAINTIFFS. Therefore, the
imposition of supervisory liability is appropriate and warranted in this case.

189. Having demonstrated supervisory liability of DEFENDANTS MAYOR EDWARDS AND
CHIEF MULLINS, the PLAINTIFFS hereby seek monetary and compensatory damages, punitive or
exemplary damages, pecuniary damages, and/or treble damages, in an amount to be determined at the
time of trial, and/or any other such relief that this Court may deem to be just and proper.

190. PLAINTIFFS also request that any costs they may incur for this cause of action be paid by the
DEFENDANTS.

SEVENTH COUNT
SUBSTANTIVE AND PROCEDURAL DUE PROCESS VIOLATIONS, Under the Fifth and

Fourteenth Amendments of the U.S. Constitution, Pursuant to 42 U.S.C. §1983; Brought by ALL
PLAINTIFFS against ALL DEFENDANTS, in their individual capacities

191. The factual allegations in one through forty-five in this complaint are hereby reasserted and

incorporated by reference as though fully set forth herein.

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192. Pursuant to 42 U.S.C. §1983, citizens who allege a deprivation of their civil rights by a person
or persons acting under the color of the law or by a governmental entity are entitled to bring a cause of
action for damages against the offending parties in the Federal District Court, and are required to prove
the same elements as are set forth in Counts One through Five of this complaint.

193. The PLAINTIFFS have a fundamental right, pursuant to the Fifth and Fourteenth
Amendments, to Due Process of the law.

194. The Fifth Amendment reads, in relevant part:

“Nor shall be compelled in any criminal case to be a witness against himself, nor be
deprived of life, liberty, or property, without due process of law; nor shall private property be

taken for public use, without just compensation.”
Fifth Amendment’s Due Process Clause, U.S. Constitution

195. The Fourteenth Amendment reads, in relevant part:

“No State shall make or enforce any law which shall abridge the privileges or immunities
of citizens of the United States; nor shall any State deprive any person of life, liberty, or
property, without due process of law; nor deny to any person within its jurisdiction the equal
protection of the laws.”

Fourteenth Arendment’s Due Process Clause, U.S. Constitution

A. SUBSTANTIVE DUE PROCESS VIOLATIONS

196. Substantive due process is intended to keep citizens safe from unnecessary or unreasonable
government interference and/or intrusions.

197. Regarding DEFENDANT ALYSON DENISON, DEFENDANT PATROLMAN W.D.
ALLEN, and DEFENDANT PATROLMAN PAYTON CARR, and relative to the factual allegations
and claims asserted herein, these Amendments have been interpreted to mean that the PLAINTIFFS
have a fundamental right to be free from coercive state interference, absent substantiated evidence of

abuse or neglect.

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198. A substantive due process claim arises when governmental actions or interferences exceed
the boundaries of what is permitted in the Constitution. Substantive due process limits this interference
or intrusion upon certain protected liberties.

199. Where there are “extended opportunities to do better,” but instead the actor unreasonably
allows harm to occur, then their “protracted failure even to care” can shock the conscience, thus giving
rise to a substantive due process claim.

200. Here, DEFENDANT DENISON unreasonably allowed harm to occur by threatening
PLAINTIFF TEARRIA SIMMONS after she had been placed under substantial duress, knowing that
doing so would result in her consenting to the search she was seeking to obtain, allowing the
PLAINTIFFS to sacrifice their Constitutional Rights, to be subjected to numerous violations of their
family’s private living spaces, as well as subjected the children to an unreasonable and substantial fear
that they would be taken from their parents, a fear that implanted itself so deeply as to cause a lasting
impact on these children — something that has been evidenced many times over as an unfortunate result
of Child Protective Services investigations.

201. In this case, DEFENDANT DENISON violated the PLAINTIFFS’ Substantive Due Process
Rights, by threatening to remove the minor children from their parents’ custody, without probable cause
or substantiated evidence, in violation of the Fourteenth Amendment.

202. DEFENDANT PATROLMAN W.D. ALLEN violated the PLAINTIFFS’ substantive due
process rights by threatening to call Child Protective Services to have the children removed from the
home, even though he knew that the children were not being abused or neglected and that they were, in

fact, properly loved and well-provided for; and when he likely did make true on his word and refer the

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family to DEFENDANT DENISON for a Child Protective Services investigation, based on totally
unfounded and unsubstantiated allegations of abuse and neglect.

203. DEFENDANT PATROLMAN CARR violated the PLAINTIFFS’ substantive due process
rights by collaborating with DEFENDANT DENISON to violate the PLAINTIFFS’ Constitutional
Rights and thereafter enabling DEFENDANT DENISON as she further violated their rights by coercing
and intimidating PLAINTIFF TEARRIA SIMMONS.

204. Additionally, DEFENDANT PATROLMAN CARR knew, or reasonably should have
known, that directing Patrolman Vickers to transport PLAINTIFF TEARRIA SIMMONS to the
courthouse before officers and agents with the HURRICANE POLICE DEPT. were finished conducting
their search of the residence and while DEFENDANT DENISON was still present at the home, with the
children and PLAINTIFF BILLY LEE CORAM, and then allowing DEFENDANT DENISON to have
access to the children and entry to the home, in PLAINTIFF TEARRIA SIMMONS’ absence, while the
children’s custodial guardians and the property owners were not present, would deprive the
PLAINTIFFS of their Due Process Rights.

205. On October 22, 2024, as a direct result of DEFENDANT DENISON’S, DEFENDANT
PATROLMAN W.D. ALLEN’S, and DEFENDANT PATROLMAN CARR’S actions in taking
unreasonable risks that they knew, or reasonably should have known, could and would harm the children
and parents, they intentionally interfered in the PLAINTIFFS’ lives, unreasonably so, and violated the
PLAINTIFFS’ Constitutional Rights to Due Process of Law, pursuant to the Fifth and Fourteenth

Amendments, causing substantial harms.

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B. PROCEDURAL DUE PROCESS RIGHTS: VIOLATIONS OF
PROCEDURAL REQUIREMENTS

206. Procedural due process rights, as incorporated into the United States Constitution via the
Fifth and Fourteenth Amendments’ Due Process Clauses, are carefully crafted and interpreted to protect
individuals from the government taking any action against them without first giving them proper notice
and then giving them ample opportunity to present their side of the situation in fair proceedings.

207. Procedural Requirements are “procedures” which must be adhered to prior to an actor being
permitted to take an action.

208. In this case, DEFENDANT ALYSON DENISON had multiple procedural requirements,
which she did not adhere to, in violation of the PLAINTIFFS’ Due Process rights (See, Count Four of
this Complaint). Some of those requirements are as follows:

i. According to the Child Protective Services Policy Handbook (2022), upon initial contact
with a family, the worker is to inform the family of their rights during and throughout the
referral and investigation process, provide them with educational materials,
inform them of the allegations being made against them, advise them of the
process the worker must follow to complete the investigation, and ask the family
if they are represented by or wish to retain an attorney, and, ifso, ask if they wish to
confer with an attorney prior to completing any more of the interview process.

ii. The Child Protective Services Policy Handbook (2022) requires the worker to request
consent to continue the interview process from a family’s attorney if they are represented
by one or wish to retain representation prior to the interview being completed, pursuant to
the Gibson Decree. Gibson v. Ginsberg, 989 F. Supp. 772, 774 (S.D. W. Va. 1996).

iii. Prior to conducting a search of the residence, DEFENDANT DENISON was required

to obtain voluntary consent from the family. Voluntary consent can only be made
where it is known as to the fact that it can be refused, that the consenting party can
limit the scope of the consent, or that the consent can be withdrawn at any time and
for any reason. Coerced consent is not valid consent.

iv. Child Protective Service workers are to remain impartial and unbiased about the
family’s socioeconomic status, race, gender, sexuality, family dynamics,
employment, income levels, ages, etc. during the interview process, so that they
may conduct a thorough and complete investigation that presents an accurate and
objective portrait of the family.

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209. DEFENDANT DENISON failed to adhere to the Child Protective Services Policy Handbook
(2022) as established by the Division of Adult and Child Services, Bureau for Social Services, W.Va.
Dept. of Health and Human Resources, for workers employed for Child Protective Services. In failing to
adhere to their established policies and procedures and going well beyond the bounds of her
discretionary duty, she also violated the PLAINTIFFS’ Procedural Due Process Rights.

210. DEFENDANT CORPORAL BRETT JOHNSON had multiple procedural requirements,
which he did not adhere to, in violation of the PLAINTIFFS’ Due Process rights. Some of those
requirements are:

a. To complete a warrant application and a supporting affidavit truthfully stating all relevant
facts known to him at the time the application is filed.

b. To not exaggerate or omit facts so as to deceive a reasonable judge into believing that
probable cause existed when it did not.

c. To ensure that the person to be seized, property to be seized, places where the officers
need to search, and the reasons for the necessity of conducting a search are all stated with
reasonable particularity on the warrant and where that information is only stated on the
affidavit or application to incorporate those documents by reference into the warrant and
then to include the attachments and serve them upon the individual named on the
warrant at the time the warrant is executed.

d. To ensure that every officer and subordinate who would be assisting in the execution of
the warrant had a copy of it, knew its scope and limitations, what property could be
seized and where to look for it, and to ensure that the property owner/residents received a
copy of the warrant at the time of its execution.

e. To ensure that upon arrival at the residence to execute the warrant, that the officers
complied with the reasonableness standard of the Fourth Amendment and knock and
announce their presence and intent to conduct a search, and if no one answers to then
wait a reasonable time before gaining entry otherwise.

211. DEFENDANT CORPORAL JOHNSON failed to adhere to the procedural requirements

established by the United States Constitution, federal statutes, state statutes, local rules of court, and

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local statues. In failing to adhere to the established policies and procedures as well as state and federal
laws, he subsequently violated the PLAINTIFFS’ Procedural Due Process Rights.

212. DEFENDANTS PATROLMAN PAYTON CARR, PATROLMAN W.D. ALLEN,
SERGEANT MAKENZIE WHITE, DETECTIVE JONATHON PAYNE, and OFFICER JOHN
DOES 1-10, INCLUSIVE had many procedural requirements, which they did not adhere to, violating
the PLAINTIFFS’ Due Process Rights. Some of those requirements are:

1. DEFENDANTS had a requirement to read the search warrant and ensure that they
understood its scope and limitations, the probable cause, what items could be searched
for and seized and where those items could be located.

2. They were required to ensure that the search warrant had the included and incorporated
attachments attached, and that the warrant was not obviously defective on its face.

3. They additionally had a requirement to knock and announce their presence and intent to
conduct a search upon arrival at the residence and to wait a reasonable amount of time for
someone to answer the door, pursuant to the Fourth Amendment of the U.S.
Constitution, prior to gaining entry to the home otherwise.

213. DEFENDANTS PATROLMAN PAYTON CARR, PATROLMAN W.D. ALLEN,
SERGEANT MAKENZIE WHITE, DETECTIVE JONATHON PAYNE, AND OFFICER JOHN
DOES 1-10, INCLUSIVE, violated the procedural requirements for executing a search warrant and
knocking and announcing their presence and intent prior to gaining entry to the residence being
searched, and in so doing they violated the PLAINTIFFS’ Procedural Due Process Rights.

214. As such, DEFENDANTS are liable to the PLAINTIFFS for Substantive and Procedural Due
Process violations, pursuant to the Fifth and Fourteenth Amendments and in violation of 42 U.S.C,

§1983. The PLAINTIFFS each sustained significant damages as a result of the gross violations of their

Constitutional Rights and, as such, they are entitled to relief. Additionally, DEFENDANTS CITY OF

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HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF MICHAEL MULLINS are also liable for
this conduct pursuant to the Monell Doctrine and the doctrine of supervisory liability.
215. PLAINTIFFS hereby seek compensatory, pecuniary, exemplary or punitive (excluding CITY
OF HURRICANE), and/or treble damages, in an amount to be determined at the time of trial, or any
such other relief that this Court may deem to be just and proper.
216. PLAINTIFFS also request that any costs they may incur for this cause of action be paid by the
DEFENDANTS.
ll. STATE LAW CLAIMS IN ACCORDANCE WITH THE RESTATEMENT OF TORTS
(2d), BROUGHT UNDER SUPPLEMENTAL JURISDICTION, PURSUANT TO 28
U.S.C. §1367

EIGHTH CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS, Pursuant to West Virginia Tort
Law and the Restatement of Torts (2d) §46; brought by ALL PLAINTIFFS against DEFENDANTS
PATROLMAN PAYTON CARR, CITY OF HURRICANE, MAYOR SCOTT EDWARDS, AND
CHIEF MICHAEL MULLINS, in their individual capacities

217.The factual allegations in paragraphs one through forty-five in this complaint are hereby
reasserted and incorporated by reference as though fully set forth herein.

218. This court has supplemental jurisdiction over this claim, pursuant to 28 U.S.C. §1367, as the
court has original jurisdiction over a claim arising from a common nucleus of operative facts, a claim
which involves a question of federal law, and therefore, accompanying state law claims, such as this
one, can tag along. Venue is proper as this is the jurisdiction in which the incidents giving rise to these
claims occurred.

219. The PLAINTIFFS assert that on October 24, 2024, DEFENDANT PATROLMAN PAYTON

CARR did engage in extreme and outrageous, intentional conduct which has caused the PLAINTIFFS,

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three of whom are minor children, ages nine, five, and three, to suffer from severe emotional distress,
such that it manifests itself via physical symptomatology.

220. To be successful in a claim for intentional infliction of emotional distress, the following
elements must be proven:

i. The DEFENDANT did engage in intentional conduct;

ii. The conduct was extreme and outrageous, such that it goes beyond the bounds of human
decency, and that the average reasonable citizen would find it intolerable or proclaim it to
be outrageous; and

iii. The conduct caused severe emotional distress, more than mere hurt feelings or upset, but
such that the average reasonable person would be unable to cope with it.

221. During the incidents on October 22, 2024, and October 24, 2024, DEFENDANT
PATROLMAN CARR did engage in calculated and intentional tactics to elicit emotional distress and
responses to that emotional distress. Those extreme and outrageous tactics include:

a. Refusing to allow PLAINTIFF TEARRIA SIMMONS to provide a measure of comfort to
her distressed children, minor PLAINTIFFS A.B.P., O.S.S., and R.T-.S. by closing the
door to the residence, so they didn’t have to be witness their father’s arrest.

b. Calling PLAINTIFF TEARRIA SIMMONS offensive and derogatory names, such as

“stupid” and “retarded bitch” in the presence of the minor children, A.B.P., O.S.S., and

R.T.S., one of whom has a biological mother that has been diagnosed as mildly mentally

retarded.

Telling PLAINTIFF TEARRIA SIMMONS that he did not care about her children while

in their presence and within their range of hearing.

d. Breaking PLAINTIFF TEARRIA SIMMONS’ cellular device as a way to prevent her
from recording his behavior, to further isolate the PLAINTIFFS, and to prevent
PLAINTIFF CLINTON SIMMONS from being able to call his family from jail, causing
harm to the familial relationship.

e, Collaborating with DEFENDANT DENISON to engage in acts that further violated the
PLAINTIFFS’ Constitutional Rights, including conspiring with her to arrest
PLAINTIFFS CLINTON AND TEARRIA SIMMONS simultaneously on October 22,
2024, when they went to the home together, despite having no substantiated evidence of
abuse or neglect and, in fact, knowing that the children were well provided for, after

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learning that both parents had warrants for misdemeanor offenses that required their
presence in Magistrate Court.

f. Enabling DEFENDANT DENISON to coerce the PLAINTIFFS to waive their
Constitutional rights and permit her to search the residence.

g. Instructing Patrolman Vickers with the HURRICANE POLICE DEPT. to take
PLAINTIFF TEARRIA SIMMONS to the Magistrate, prior to the completion of the
search on PLAINTIFFS’ residence, leaving her children and tenant at the residence with
law enforcement and DEFENDANT DENISON, whom he subsequently permitted to
enter the residence in PLAINTIFEF’S absence and whom he allowed to ask questions of
the minor children without their guardian’s knowledge or consent.

h. Hitting/Punching PLAINTIFF CLINTON SIMMONS in and about his face and head
during the arrest on October 24, 2024, despite the fact that he was already in handcuffs
and was not struggling or resisting arrest otherwise and then bragging about that fact to
PLAINTIFF TEARRIA SIMMONS, in the presence and within the range of hearing of
the couple’s minor children.

i. Refusing to check the tightness of PLAINTIFF CLINTON SIMMONS’ handcuffs after
being informed that they were too tight and, in fact, laughing about it.

222. PLAINTIFF A.B.P. has endured many life experiences that render her vulnerable. At only nine-
years-old, she is acutely aware of her biological mother’s intellectual disability and finds the greatest
offense in derogatory words used to defame, insult, or “make fun of” those with intellectual disabilities.

223, DEFENDANT PATROLMAN CARR was aware children were present but yet took no action

to cease, reduce, or modify his conduct and/or language so that it was marginally less offensive,
derogatory, or harmful to the children.

224, The standard of scrutiny is very high as to what sort of behavior constitutes extreme and
outrageous conduct. The behavior must be intolerable to a civilized society. DEFENDANT
PATROLMAN CARR’S conduct, as described by the factual allegations herein, rises to that standard.

225. The facts herein indicate that DEFENDANT PATROLMAN CARR knew his conduct was
causing harm, or he reasonably should have known that it was, and that he, in fact, intended to cause

such harm to PLAINTIFFS.

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COMPLAINT FOR DAMAGES, PURSUANT TO 42 U.S.C. §1983,
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226. The average reasonable person would certainly find derogatory remarks about a disability or
disabled individual to be extreme, when the remarks are made in the presence of and directed toward a
child, the behavior goes from shocking and extreme to outrageous, such that the average reasonable
person would surely proclaim this conduct to be “Outrageous!,” but when made in the presence of a
child whose mother is disabled with the very condition he is making fun of and insulting, to the child’s
parental guardian, the conduct exceeds well beyond the bounds of human decency and crosses into
utterly intolerable.

227. Although it is most likely that DEFENDANT PATROLMAN CARR did not know
PLAINTIFF TEARRIA SIMMONS?’ biological sister, PLAINTIFF A.B.P.’s biological mother, is
diagnosed with mild mental retardation, he did know, or reasonably should have known, that calling
PLAINTIFF TEARRIA SIMMONS stupid and a retarded bitch in front of her young children, even
without the fact that her sister has a severe intellectual disability, was a highly unethical, reprehensible,
offensive, and insulting choice of behavior, which is the exact reason he was conducting himself in
such a manner to begin with: with the intent to cause harm, offense, anger, distress, and upset.
Additionally, DEFENDANTS CITY OF HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF
MICHAEL MULLINS are liable for this conduct, pursuant to the Monell doctrine and the doctrine of
supervisory liability.

228. The emotional distress experienced by the minor children, PLAINTIFFS A.B.P., O.S.S., and
R.T.S. is apparent in their behavior during the events and their reaction to the outrageous conduct,
namely, their devastation and visible upset during the incident such as crying and sobbing, faces

growing very red, fists and teeth clenched, and/or heavy breathing.

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SIMMONS & CORAM y, CITY OF HURRICANE, ET AL. (2025)
COMPLAINT FOR DAMAGES, PURSUANT TO 47 U.S.C. 81983,
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229.. PLAINTIFF A.B.P. has suffered from extreme emotional distress since the incident on
October 24, 2024. She has suffered from low self-esteem, and her distress has resulted in an almost
obsessive-compulsive worry about being “retarded” that has manifested in physical symptoms such as
nausea and vomiting, nail biting, lip chewing, chewing on her hair, changes in appetite and weight
fluctuations, sleep disturbances, and even hair loss.

230. PLAINTIFFS CLINTON AND TEARRIA SIMMONS and PLAINTIFF BILLY LEE
CORAM have all experienced an extreme level of guilt regarding the pain and trauma caused to the
children by these incidents and their inability to console the children during the incidents or to protect
the children from these harms, and this emotion rises to more than simply a mere upset, but is a distress
such that it has manifested itself in physical symptomatology, and is such that the average reasonable
person would be unable to cope with it.

231. Having plead herein the elements of a claim for intentional infliction of emotional distress,
PLAINTIFFS hereby seek compensatory, pecuniary, exemplary or punitive (excluding CITY OF
HURRICANE), and/or treble damages, in a reasonable amount to be determined at the time of trial,
and/or any such other relief that this Court may deem to be just and proper.

232. PLAINTIFFS also request that any costs they may incur for this cause of action be paid by the
DEFENDANTS.

NINTH CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS, Pursuant to West Virginia Tort
Law and the Restatement of Torts (2d) §46; Brought by ALL PLAINTIFFS against DEFENDANT
ALYSON DENISON, in her individual capacity.

233. The factual allegations in each of the above paragraphs in this complaint are hereby

reasserted and incorporated by reference as though fully set forth herein.

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SIMMONS & CORAM y. CITY OF HURRICANE, ET AL, (2025)
COMPLAINT FOR DAMAGES, PURSUANT TO 42 U.S.C. 81983,
AND STATE CLAIMS PURSUANT TO 28 U.S.C, §1367; DEMAND FOR A JURY TRIAL

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234. This court has supplemental jurisdiction over this claim, as outlined in paragraph two-hundred
eighteen in this complaint.

235. To be successful here, the same elements as those set forth in the eighth cause of action,
paragraphs two-hundred seventeen through two-hundred thirty-two, must be established.

236. DEFENDANT ALYSON DENISON, acting under the color of state law and in her capacity
as a Child Protective Services worker, engaged in extreme and outrageous conduct, far exceeding the
scope of her discretionary authority as a CPS worker and in violation of the PLAINTIFFS’
Constitutional Rights.

237. DEFENDANT DENISON’S extreme and outrageous behavior can be demonstrated by the
following factual allegations:

a. Failing to adhere to proper Child Protective Services policies and procedures, including
failing to disclose the allegations made about the family and not informing them of their
rights during the referral process at the point of initial contact.

b. Refusing to respect the PLAINTIFFS’ decision to confer with their attorney prior to
completing the interview, as is their right and her obligation to allow.

c. Collaborating with DEFENDANT PATROLMAN CARR to wait at the gas station across
the street from the PLAINTIFFS’ residence while he made contact with the residents and
initiated the arrest of PLAINTIFFS CLINTON AND TEARRIA SIMMONS, so that she
could then drive over as they exited the house, with the belief that she would then need to
remove the children from the home, as there would be no adult to care for them, despite
the events not unfolding accordingly.

d. Coercing PLAINTIFF TEARRIA SIMMONS, under duress, into waiving her
Constitutional Rights and threatening to take the children from the home if the
PLAINTIFF did not grant her consent to conduct a thorough walkthrough and visual
inspection of each room of the residence, including a private, upstairs apartment leased
by PLAINTIFF BILLY LEE CORAM.

e. Entering the PLAINTIFFS’ residence after PLAINTIFF TEARRIA SIMMONS had been
transported to the Magistrate Court, on more than one occasion, on October 22, 2024, and
making inquiries of the children, without the knowledge or consent of their guardians or
the homeowners.

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COMPLAINT FOR DAMAGES, PURSUANT TO 42 U.S.C. §1983,
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238. DEFENDANT DENISON’S initial conduct was intended to coerce consent to a search of the

home, a search that PLAINTIFFS reasonably believed they were entitled to refuse under the Fourth

Amendment, and which the PLAINTIFFS did not desire to consent to without a prior opportunity to

confer with their attorney in regard to the matter at hand.

239. DEFENDANT DENISON knew, or reasonably should have known, that her conduct would

cause extreme emotional distress to the PLAINTIFFS, as follows:

iil.

PLAINTIFFS CLINTON AND TEARRIA SIMMONS - as parents threatened with the loss
of their children, and as citizens who felt that they had no choice but to waive their
Constitutional Rights or lose their children, despite not wanting to have their privacy,
integrity, and dignity invaded by someone who was essentially a stranger.

The minor PLAINTIFFS, A.B.P., O.S.S., and R.T.S. - as innocent children exposed to
DEFENDANT DENISON’S threats, facing severe anxiety and trauma due to the
potential removal from their home and parents, and who also had to cope with the
invasion into their private living spaces and intrusive questioning tactics.

PLAINTIFF BILY LEE CORAM — as someone caught in the line of fire for no good
reason. A loved one and resident at the home who was distressed over his inability to
prevent the harm caused to the other PLAINTIFFS, who he views as his children and
grandchildren, respectively, in addition to being forced into opening his own private
residence to DEFENDANT DENISON, when he was not ever mentioned in the referral
for allegations of neglect and/or abuse and where he paid a monthly rental amount for a
private living quarters within the residence and had a reasonable expectation that that
living space would be private and secure.

240. As a direct and proximate result of DEFENDANT DENISON’S actions, PLAINTIFFS have

suffered:

Severe emotional distress, including anxiety, guilt, depression, humiliation, self-isolating
behaviors, and loss of trust in governmental authorities or entities.

Physical symptoms, such as panic attacks, sleep disturbances, and appetite changes,
including weight loss, nausea, and more, as detailed in the factual allegations.

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241, DEFENDANT DENISON’S conduct was extreme and outrageous, beyond the bounds of
human decency, and was such that it is utterly intolerable in a civilized society; her conduct was also
willful, wanton, malicious, and in reckless disregard of PLAINTIFFS’ rights, justifying an award of

punitive or exemplary damages.

242. PLAINTIFFS have each experienced an extreme level of distress regarding the pain and
trauma caused to them, their children, and their loved ones by these incidents and their inability to
protect one another from these harms; the distress is more than simply a mere upset, but is such that it
has manifested itself in physical symptomatology and is such that the average reasonable person would
be unable to cope with it.

243. Having established the elements of a claim for intentional infliction of emotional distress
against DEFENDANT DENISON, PLAINTIFFS request a judgment in their favor for compensatory,
pecuniary, treble, and/or exemplary or punitive damages, in a reasonable amount to be determined at the
time of trial, and/or any other such relief that this Court may deem to be just and proper.

244, PLAINTIFFS also request that any costs they may incur for this cause of action be paid by the

DEFENDANT.

TENTH CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS, Pursuant to West Virginia Tort
Law and the Restatement of Torts (2d) §46; Brought by ALL PLAINTIFFS against DEFENDANTS
PATROLMAN W.D. ALLEN, CITY OF HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF
MICHAEL MULLINS, in their individual capacities

245. The factual allegations in paragraphs one through forty-five in this complaint are hereby
reasserted and incorporated by reference as though fully set forth herein.
246, This court has the authority to exercise supplemental jurisdiction over this claim, as outlined in

paragraph two-hundred eighteen in this complaint.

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247. To be successful in a claim for intentional infliction of emotional distress, the PLAINTIFFS
must sufficiently plead the same elements as set forth in the eighth cause of action, paragraphs two-
hundred seventeen through two-hundred thirty-two, and ninth cause of action, paragraphs two-hundred
thirty-three through two-hundred forty-four, in this complaint.

248. The PLAINTIFFS assert that on multiple occasions in September and October, 2024, one such
occasion being September 18, 2024, DEFENDANT PATROLMAN W.D. ALLEN, did engage in
extreme and outrageous, intentional conduct which caused the PLAINTIFFS, three of whom are minor
children, aged nine years old, five years old, and three years old, to suffer from severe emotional
distress, such that the average reasonable person would be unable to cope with it.

249. DEFENDANT PATROLMAN ALLEN was at the PLAINTIFFS’ residence to ascertain the
whereabouts of PLAINTIFF CLINTON SIMMONS, and at that time, DEFENDANT PATROLMAN
ALLEN used extreme and outrageous tactics in an attempt to convince PLAINTIFF TEARRIA
SIMMONS to disclose the location where PLAINTIFF CLINTON SIMMONS could be found or give
him access to search her residence.

250. Those extreme and outrageous tactics involved:

i. Threatening PLAINTIFF TEARRIA SIMMONS with arrest for her inability to produce
someone who was not present.

ii. Threatening to call Child Protective Services and have PLAINTIFF TEARRIA
SIMMONS’ children taken away from her, despite seeing no signs of abuse or neglect
and, in fact, knowing the children were well provided for, and even though she was doing
nothing wrong or illegal except reasonably exercising her Fourth Amendment right to
privacy in her home.

iii. Considering the time of the arrival of DEFENDANT DENISON into the entire picture as
detailed in the factual allegations, it is highly likely and the PLAINTIFFS, therefore,
reasonably believe that DEFENDANT PATROLMAN ALLEN did, in fact, contact Child

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Protective Services and make unsubstantiated and, frankly, false allegations of abuse and
neglect with no evidence to substantiate such beliefs and with a purely malicious intent to
cause harm to the PLAINTIFFS and retaliate against them for PLAINTIFF CLINTON
SIMMONS’ perceived evasion of their efforts to arrest him and PLAINTIFF TEARRIA
SIMMONS’ assertion of her Constitutional Rights, defying their authority.

. Standing on the home’s front porch, knocking incessantly at the door and yelling into the

residence, after already having made contact with PLAINTIFF TEARRIA SIMMONS
and ascertaining that PLAINTIFF CLINTON SIMMONS was not present and having no
other good or excusable purpose to be at the residence, for the sole purpose of harassing,
intimidating, and inciting fear and upset in the PLAINTIFFS, including the minor
children.

On about eight of the ten occasions in which PLAINTIFFS BILLY LEE CORAM and
A.B.P. did leave the house to walk across the street to the gas station, Sheetz, between
September 18, 2024, and October 22, 2024, they were stopped upon exiting the store by
officers with the HURRICANE POLICE DEPT., including DEFENDANT
PATROLMAN ALLEN, and PLAINTIFF BILLY LEE CORAM was required to
produce an identification card before being subjected to an unreasonable and unnecessary
warrant check. They would then be permitted to cross the street to their residence, which

is located approximately three hundred feet from the gas station.

251. The emotional distress experienced by the minor children, PLAINTIFFS A.B.P., O.S.S., and

R.T.S. is apparent in their behavior during the events and their reaction to the outrageous conduct,

especially during the time DEFENDANT PATROLMAN ALLEN was beating on the door incessantly

after he threatened to take the children from their mother and after she had closed the door on him and

retreated into the residence.

252. The level of emotional distress as experienced by the PLAINTIFFS is so severe that they are

experiencing physical symptomatology, including panic attacks and anxiety, shortness of breath,

trembling and shaking, nausea and vomiting, loss of appetite, weight changes, and other physical

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discomforts or symptoms that stem from emotional distress, as outlined in the other counts and factual
allegations herein.

253. As DEFENDANT PATROLMAN ALLEN’S conduct was intentional, extreme, and
outrageous, and that conduct resulted in severe emotional distress for the PLAINTIFES, including
physical symptomatology or manifestations of such distress (that are no longer a requirement for the tort
but demonstrate the severity of the level of distress experienced), the required elements of intentional
infliction of emotional distress have been demonstrated. Additionally, DEFENDANTS CITY OF
HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF MICHAEL MULLINS are liable for this
conduct pursuant to the Monell Doctrine and the doctrine of supervisory liability.

254. Having plead herein the elements of a claim for intentional infliction of emotional distress
against DEFENDANT PATROLMAN ALLEN, PLAINTIFFS hereby seek compensatory, pecuniary,
treble, and/or exemplary or punitive (excluding CITY OF HURRICANE) damages, in a reasonable
amount to be determined at the time of trial, and/or any such other relief that this Court may deem to be
just and proper.

255. PLAINTIFFS also request that any costs they may incur for this cause of action be paid by the
DEFENDANTS.

ELEVENTH AND TWELVTH CAUSES OF ACTION
ASSAULT AND BATTERY: Pursuant to West Virginia Tort Law and the Restatement of Torts
(2d) §§21, 24, 27, 13, 16, 18, and 19; Brought by PLAINTIFF CLINTON SIMMONS against
DEFENDANTS PATROLMAN PAYTON CARR, CITY OF HURRICANE, MAYOR SCOTT
EDWARDS, AND CHIEF MICHAEL MULLINS, in their individual capacities.

256. The factual allegations in paragraphs one through forty-five in this complaint are hereby

reasserted and incorporated by reference as though fully set forth herein.

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257. This court has supplemental jurisdiction over this claim, as outlined in paragraph two-
hundred eighteen of this complaint.

258. An assault occurs when an actor intentionally places another individual in reasonable
apprehension of imminent harmful or offensive physical contact.

259. A battery occurs when an actor intentionally causes harmful or offensive physical contact
with another individual.

260. Here, PLAINTIFF CLINTON SIMMONS was on the second floor of the residence on
Hurricane Creek where officers and agents of the HURRICANE POLICE DEPT. served a search
warrant on his wife, PLAINTIFF TEARRIA SIMMONS, on the afternoon of October 24, 2024.

261. PLAINTIFF CLINTON SIMMONS was working in and out of the crawlspaces in his homes
upper level, checking and making repairs to ductwork after their natural gas service had been turned off
for the summer season and had only just been turned back on that morning.

262. PLAINTIFF CLINTON SIMMONS did have an active arrest warrant.

263, When officers and agents with the HURRICANE POLICE DEPT. entered the residence,
PLAINTIFF CLINTON SIMMONS was trying to squeeze himself out when DEFENDANT
SERGEANT WHITE started attempting to pull him out.

264. PLAINTIFF CLINTON SIMMONS was finally able to get through the entry and into the
bedroom closet area, where SERGEANT WHITE was there to quickly grab him and yank him out of the
closet and into the room.

265. PLAINTIFF CLINTON SIMMONS was slammed face first onto the bed by a number of
officers, such that he couldn’t precisely say how many it was. DEFENDANT SERGEANT WHITE was

handcuffing him, and he heard DEFENDANT PATROLMAN CARR laughing and jeering just before

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he saw a fist coming toward him out of the corner of his eye and realized that he was going to be hit in
the face and was totally unable to defend himself.

266. Just then, DEFENDANT PATROLMAN CARR’S fist made contact with PLAINTIFF
SIMMONS face, once, twice, and a possible third time but PLAINTIFF CLINTON SIMMONS was so
ruffled at that time that he cannot say with certainty that the DEFENDANT’S fist made contact with his
face for a third consecutive time, a fact DEFENDANT PATROLMAN CARR bragged about after the
fact, both to other DEFENDANT OFFICERS and to PLAINTIFF’S wife and children.

267. When PLAINTIFF CLINTON SIMMONS could see DEFENDANT PATROLMAN
CARR’S fist coming toward his face out of the corner of his eye and realized that the fist was going to
make contact with his face and that he was unable to defend himself, he was placed in reasonable
apprehension of imminent harmful or offensive physical contact. An assault did occur.

268. When DEFENDANT PATROLMAN CARR’S fist did subsequently make harmful or
offensive physical contact with PLAINTIFF CLINTON SIMMONS’ face, as he intended it to, a battery
did occur.

269.No law enforcement officer, in the act of arresting a criminal or suspected criminal, should
use his fist to punch the arrestee suspect in the face, nor any other unreasonable and unnecessary force;
therefore, DEFENDANT PATROLMAN CARR is liable for such conduct. Additionally,
DEFENDANTS CITY OF HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF MICHAEL
MULLINS are liable for this conduct, pursuant to the Monell Doctrine and the doctrine of supervisory
liability.

270. PLAINTIFF CLINTON SIMMONS was completely subdued at the time he was struck by

DEFENDANT PATROLMAN CARR. DEFENDANT SERGEANT WHITE already had the situation

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under control, with her knees in PLAINTIFF’S back, such that he was unable to achieve much
movement, and she was already in the act of placing him in handcuffs to restrain his wrists.

271. Having proven that the facts support the torts of assault and battery, the PLAINTIFF hereby
does seek compensatory, pecuniary, punitive or exemplary (excluding CITY OF HURRICANE), and/or
treble damages in a reasonable amount to be determined at the time of trial, and/or any other such relief
that this Court may deem to be just and proper.

272. PLAINTIFF also requests that any costs he may incur for this cause of action be paid by the
DEFENDANTS.

THIRTEENTH CAUSE OF ACTION
CONVERSION, Pursuant to West Virginia Tort Law and the Restatement of Torts (2d) §§ 222{a),
223, and 228; Brought by ALL PLAINTIFFS against ALL DEFENDANTS, in their individual
capacities, EXCLUDING DEFENDANT DENISON

273. The factual allegations in paragraphs one through forty-five in this complaint are hereby
reasserted and incorporated by reference as though fully set forth herein.
274. This court has supplemental jurisdiction over this claim, as outlined in paragraph two-hundred
eighteen in this complaint.
275. Four elements must be established to prove the tort of conversion:
i. The Plaintiff owns or has the right to possess the personal property in question at the time
of the interference;
ii. The Defendant intentionally interfered with the Plaintiff's personal property (sometimes
also described as exercising "dominion and control" over it);
iii, The interference deprived the Plaintiff of the possession or use of the personal property in
question; and
iv. That interference caused damages to the Plaintiff.
276. On October 24, 2024, DEFENDANTS with the HURRICANE POLICE DEPT., including
DEFENDANTS CORPORAL B. JOHNSON, PATROLMAN PAYTON CARR, PATROLMAN

W.D. ALLEN, SERGEANT MAKENZIE WHITE, DETECTIVE JONATHON PAYNE,

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OFFICER JOHN DOES 1-10, INCLUSIVE, and CHIEF MICHAEL MULLINS, CHIEF OF
POLICE executed an invalid and facially defective search warrant on the PLAINTIFFS’ residence. The
warrant did not state with specificity what items were to be seized or where they were to be seized from,
referring only to attachments which were not included in the copy provided to the homeowner.

277. Officers with the HURRICANE POLICE DEPT., an administrative arm of the DEFENDANT
CITY OF HURRICANE, whose identities are, at the present, unknown to the PLAINTIFFS, namely,
DEFENDANT OFFICER JOHN DOES 1-10, INCLUSIVE, wrongfully seized and retained PLAINTIFF
BILLY LEE CORAM’S personal property, namely: one set of full-spectrum LED grow lights from the
basement, one heated germination pad from the basement, one set of full-spectrum LED grow lights
from the upstairs apartment, worth approximately $250 at the time they were permanently removed from
him, and one (1) immature marijuana plant in soil, gender unknown, about six (6) inches tall and without
flower, which was being kept immature and transformed into a bonsai plant as PLAINTIFF BILLY LEE
CORAM is an avid arborist and bonsai artist, growing both for pleasure and for profit, without legal
authority or justification.

278. Officers with the HURRICANE POLICE DEPT., an administrative arm of the CITY OF
HURRICANE, whose identities are, at the present, unknown to the PLAINTIFFS, namely
DEFENDANT OFFICER JOHN DOES 1-10, INCLUSIVE, in the act of executing a search warrant on
the PLAINTIFFS’ residence on October 24, 2024, swat-style, did wrongfully and intentionally break
four windows along the base of the home which are located on the inside of the basement of the
residence, without legal authority or justification, allowing the cold winter air into the home, which is

owned by PLAINTIFFS CLINTON AND TEARRIA SIMMONS, and which requires immediate repair

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for the safety and wellbeing of the children residents, at a cost of approximately $2,500.00 ($624.00
each).

279, DEFENDANT PATROLMAN CARR did wrongfully, intentionally, and maliciously, take
PLAINTIFF TEARRIA SIMMONS’ cellular device, an Apple iPhone 11 Pro Max, 256 gigabyte storage
capacity, being of approximately $450.00 fair market value on the date it was destroyed, and smashed it
onto the dining room table of her residence using the heel of his hand, subsequently shattering the screen
in its entirety and rendering the device useless.

280. DEFENDANTS’ actions are the equivalent of intentional interference and that interference
deprived PLAINTIFFS of their personal property, causing pecuniary or economic monetary losses and
emotional distress. Additionally, DEFENDANTS CITY OF HURRICANE, MAYOR SCOTT
EDWARDS, AND CHIEF MICHAEL MULLINS are also liable for this conduct, pursuant to the
Monell Doctrine and the doctrine of supervisory liability.

281. Having proven the elements of a claim for conversion, PLAINTIFFS hereby seek
compensatory damages for the value of the converted property and/or fair labor market costs to replace
necessary property and/or injunctive relief in the form of an order compelling the HURRICANE
POLICE DEPT. to return the two sets of full-spectrum LED grow lights and germination pad that were
illegally seized from the home and which belong to PLAINTIFF BILLY LEE CORAM, and/or any
other such relief that this Court may deem just and proper.

282. PLAINTIFFS also request that any costs they may incur for this cause of action be paid by the
DEFENDANTS.

FOURTEENTH AND FIFTEENTH CAUSES OF ACTION
TRESPASS AND TRESPASS TO CHATTELS: Pursuant to West Virginia Tort Law and the
Restatement of Torts (2d) §§ 158, 161, 217 and 218; Brought by ALL PLAINTIFFS against ALL
DEFENDANTS, in their individual capacities

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COMPLAINT FOR DAMAGES, PURSUANT TO 42 U.S.C. §1983,
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283. The factual allegations in one through forty-five in this complaint are hereby reasserted and
incorporated by reference as though fully set forth herein.

284, This court has supplemental jurisdiction over this claim, as outlined in paragraph two-hundred
eighteen in this complaint.

285. To be successful in a claim for trespass to real property, the following elements must be
demonstrated:

i. Defendants entered Plaintiffs’ property without valid legal authority or consent; and
ii. Defendants’ actions interfered with Plaintiffs’ right to quiet enjoyment of their property
and caused emotional distress.

286. In order to be successful in a claim for trespass to chattels, the following elements, similarly,
must be proven:

a. Defendants intentionally interfered with Plaintiffs’ personal property (i.e., cellular device,
windows, germination pad, two full-spectrum LED grow lights).
b. Defendants’ actions caused damage, deprivation of use, and financial losses.

287. Here, we know that each and every one of the DEFENDANTS, at various times relevant to
this complaint, did enter onto the PLAINTIFFS’ private real property without their consent, some on
numerous occasions, and we know that the search warrant they used as their legal authority to do so on
one such occasion was invalid and defective on its face, quashing any argument that they were acting
within their legal authority on that date. We additionally know that the DEFENDANTS refused to
recognize PLAINTIFF BILLY CORAM as having a right to privacy and never obtained his consent to
enter or search his private spaces nor did they obtain a search warrant for his residence and searched it

anyway.

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288. We also know that the DEFENDANTS’ actions by entering onto the property did cause
PLAINTIFFS substantial emotional distress and interfered with their Constitutional Rights and their
ability to use or possess such property, diminishing their quiet use and enjoyment of the property, and
resulting in financial losses for costs repairing or replacing such property.

289. Here we know that the DEFENDANTS’ acts, wrongfully and illegally seizing PLAINTIFFS)
property, breaking and destroying PLAINTIFFS’ property, and/or otherwise interfering with the quiet use
and enjoyment of their property, did occur without legal justification or authority and did result in
significant damages for the PLAINTIFFS, including financial losses and substantial emotional distress
DEFENDANTS CITY OF HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF MICHAEL
MULLINS are additionally liable for this conduct, pursuant to the Monell doctrine and the doctrine of
supervisory liability.

290. Having proven the elements of trespass and trespass to chattels under state law, the
PLAINTIFFS now seek compensatory, pecuniary, exemplary or punitive (excluding CITY OF
HURRICANE), and/or treble damages of a reasonable amount to be determined at the time of trial,
and/or any other such other relief as this Court may deem to be just and proper.

291. PLAINTIFFS also request that any costs they may incur as a result of this cause of action be
paid by the DEFENDANTS.

SIXTEENTH CAUSE OF ACTION

PROFESSIONAL NEGLIGENCE, Pursuant to West Virginia Tort Law and the Restatement of
Torts (2d) §§ 282, 283, AND 299(a); Brought by ALL PLAINTIFFS against ALL DEFENDANTS, in
their individual capacities

292. The factual allegations in paragraphs one through forty-five in this complaint are hereby

reasserted and incorporated by reference as though fully set forth herein.

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293. This court has supplemental jurisdiction over this claim, as outlined in paragraph two-
hundred eighteen in this complaint.

294. To be successful in a claim for negligence the PLAINTIFFS must demonstrate the following
elements:

i. That the Defendants owed the Plaintiffs a duty of care to conduct their duties, including
conducting search warrants, arrests, and investigations, in a professional manner, in
accordance with the proscribed industry standards for law enforcement and social services
The standard of care is heightened where the individual is in a professional position
requiring specialized training and skill, such as a police officer or child protective services
worker;

ii. Defendants breached this duty through an act that they knew, or should have reasonably
known, could or would cause the Plaintiffs harm;

iii. Defendants’ actions were the actual and proximate cause of the damages incurred by the
Plaintiffs; and

iv. That the Plaintiffs did sustain actual damages as a result of the Defendants’ negligence.

295. As state law actors, each of the DEFENDANTS herein owed a professional duty of care to
the PLAINTIFFS, while acting in the capacity of their jobs as agents, employees, or officers of the
HURRICANE POLICE DEPT., administrative arm of the CITY OF HURRICANE, and CHILD
PROTECTIVE SERVICES, Office of Child and Adult Services, Bureau for Social Services, Department
of Health and Human Resources,

296. OFFICER DEFENDANTS owed PLAINTIFFS a duty of care, that they would adhere to
the established policies and procedures for police officer conduct and would strive to respect the
Constitutional Rights of each individual they come into contact within the community, and to protect
innocence and fight injustice.

297. The OFFICER DEFENDANTS each breached that duty of care, as can be demonstrated by

the following factual allegations:

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a. Supervisory DEFENDANTS SCOTT EDWARDS, MAYOR, CITY OF
HURRICANE and DEFENDANT CHIEF MICHAEL MULLINS, HURRICANE
POLICE DEPT., did breach the duty of care owed to the PLAINTIFFS by failing to
properly train and supervise their subordinates and by failing to establish proper and
adequate training procedures, policies, practices, customs, and traditions to ensure
that all employees, officers, and agents of the CITY OF HURRICANE and
HURRICANE POLICE DEPT. know how to protect the civil rights of those
individuals they are entrusted to serve;

b. OFFICER DEFENDANTS with the HURRICANE POLICE DEPT. did breach the’
duty of care owed to the PLAINTIFFS by failing to verify and ascertain the validity
and scope of the search warrant prior to executing the search;

c. OFFICER DEFENDANTS with the HURRICANE POLICE DEPT. did breach the
duty of care owed to the PLAINTIFFS by failing to knock and announce their
presence before entering the PLAINTIFFS’ residence, putting the safety of each and
every PLAINTIFF at risk;

d, OFFICER DEFENDANTS with the HURRICANE POLICE DEPT. did breach the
duty of care owed to the PLAINTIFFS by coercing or attempting to coerce the
PLAINTIFES into providing consent to enter and search their residence by means of
intimidation and threats;

e. OFFICER DEFENDANTS with the HURRICANE POLICE DEPT. did breach the
duty of care owed to the PLAINTIFFS by executing an overly broad search that
violated the PLAINTIFFS’ Constitutional Rights;

f. OFFICER DEFENDANTS with the HURRICANE POLICE DEPT. did breach the
duty of care owed to the PLAINTIFFS by obtaining a search warrant on the
PLAINTIFF TEARRIA SIMMONS by means of judicial deception; and

g. OFFICER DEFENDANTS with the HURRICANE POLICE DEPT. did breach the
duty of care owed to the PLAINTIFFS by deploying over three quarters of the sworn
officers employed by the HURRICANE POLICE DEPT. to the PLAINTIFFS’
residence on October 22 and October 24, 2024, leaving the city largely unpatrolled
for hours on end and putting the citizens of the CITY OF HURRICANE at risk of
danger or harm in the event a real criminal act took place elsewhere.

298. DEFENDANT DENISON owed PLAINTIFFS a duty of care, to conduct her child welfare
investigation in compliance with established procedures, policies, and state and federal law.
299, DEFENDANT DENISON did breach this duty of care, as established by the following

factual allegations:

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1. Making baseless threats to remove PLAINTIFFS’ children without conducting a fair

and complete investigation into the allegations made against the family;

Failing to inform the family of the allegations upon initial contact and, in fact, not

until five days after initial contact;

3. Coercing consent to search PLAINTIFFS’ home under duress;

Failing to provide the family with educational materials upon initial contact, as
required by the Child Protective Services Policy Handbook (2022),

5. Failing to allow the family to confer with their attorney prior to continuing the
interview, as is required by the Gibson Decree and the Child Protective Services
Policy Handbook (2022);

6. Violating the PLAINTIFFS’ procedural due process rights and right to a reasonable
expectation of privacy by conspiring with officers or agents of the HURRICANE
POLICE DEPT., to arrest PLAINTIFFS CLINTON AND TEARRIA SIMMONS
simultaneously, under the belief that they would be leaving the minor children
without a proper caretaker, then allowing DEFENDANT DENISON to remove the
minor children from their home, without having substantiated any of the allegations
of abuse or neglect made against them;

7. Failing to respect PLAINTIFFS’ Constitutional Rights as a whole, intentionally or
negligently and with reckless disregard, by engaging in conduct which inflicted
severe emotional distress upon the PLAINTIFFS; and

8. Otherwise behaving inappropriately and unprofessionally, going beyond the bounds
of the scope of her duties of employment as a CPS worker, and failing to comply with
the policies and procedures set forth in the handbook that governs her job, nor with
state and federal law.

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300. The DEFENDANTS’ negligence was the actual and proximate cause of the PLAINTIFFS’
damages.

301. Actual cause, or cause-in-fact, is the standard that determines whether a Defendant’s conduct
was a factual link in causing the Plaintiff's harms.

302. Actual cause is often established using the but for test. Under this test, “the Plaintiffs harm
would not have occurred burt for the Defendant’s conduct.”

303. In this case, the PLAINTIFFS would not have had their Constitutional rights deprived of them,

resulting in actual damages, but for the conduct of MAYOR EDWARDS, CITY OF HURRICANE,

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CHIEF MULLINS, HURRICANE POLICE DEPT., CORPORAL JOHNSON, PATROLMAN ALLEN,
PATROLMAN CARR, SERGEANT WHITE, DETECTIVE PAYNE, OFFICER JOHN DOES 1-10,
INCLUSIVE, and ALYSON DENISON.

304. Proximate cause, or legal cause, is the standard that determines whether it is fair and
reasonable to hold a Defendant liable for the harm sustained by the Plaintiff.

305. Proximate cause is most often tested using the reasonable foreseeability test. This test asks
whether a reasonably prudent person in the same or similar situation as the Defendant would have been
able to foresee the type of harm that occurred. In professional negligence, this standard becomes that of
a reasonably prudent professional with the same specialized skills and/or training.

306. In this case, a reasonably prudent Mayor in the same or similar position as DEFENDANT
MAYOR SCOTT EDWARDS would have been able to foresee that a failure to establish adequate
training practices and to properly supervise and train his subordinates accordingly would result in
citizens of THE CITY OF HURRICANE being deprived of their civil rights.

307. A reasonably prudent Chief of Police in the same or similar position as DEFENDANT CHIEF
MICHAEL MULLINS would have been able to foresee that a failure to establish adequate training
practices and to supervise and train his subordinates accordingly would result in citizens of the CITY OF
HURRICANE being deprived of their civil rights.

308. A reasonably prudent law enforcement officer in the same or similar position as
DEFENDANTS CORPORAL JOHNSON, PATROLMAN CARR, PATROLMAN ALLEN,
SERGEANT WHITE, DETECTIVE PAYNE, or OFFICER JOHN DOES 1-10, INCLUSIVE would
have been able to foresee that the failure to provide truthful and complete information on an affidavit

supporting an application for a search warrant, the failure to read and review a search warrant to

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determine its scope and validity, the failure to only search the places or seize the items which are stated
on that warrant, the failure to knock and announce their presence when executing a search warrant, and
the acts of breaking personal property or engaging in similar such conduct would result in the
deprivation of the civil rights of the citizens of the CITY OF HURRICANE.

309. A reasonably prudent child protective services worker in the same or similar position as
DEFENDANT ALYSON DENISON would reasonably foresee that the failure to adhere to the policy
handbook or other departmental procedures, the failure to inform families of their rights, the failure to
provide a family with educational material, the failure to allow a family an opportunity to speak with
their attorney, the failure to respect the rights of the families they investigate, the failure to inform those
families of the allegations made against them, and the acts of coercing a parent who has been placed
under substantial duress into waiving their Constitutional Rights so that their home may be searched,
threatening parents to remove children from their home when there is no substantiated evidence of abuse
or neglect, and/or collaborating with law enforcement officers to have parents arrested so that they may
subsequently remove children into the custody of the State would result in the deprivation of the civil
rights of the families they are employed to support and the children they are entrusted to protect.

310. These DEFENDANTS are the proximate or legal cause of the PLAINTIFFS’ actual damages.
DEFENDANTS CITY OF HURRICANE, MAYOR SCOTT EDWARDS, AND CHIEF MICHAEL
MULLINS are liable for this negligent conduct pursuant to the Monel/ doctrine and the doctrine of
supervisory liability.

311. And finally, the PLAINTIFFS did sustain actual damages as a direct result of the
DEFENDANTS’ negligence, in the form of converted/destroyed/seized property items, monetary

losses, severe emotional distress and physical symptomatology as a result of that distress, deprivations

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of their Constitutional Rights, loss of privacy, public humiliation, harm to their familial integrity, and
more.

312. Accordingly, having established the elements of professional negligence against each and every
DEFENDANT, the PLAINTIFFS now seek compensatory, pecuniary, punitive or exemplary
(excluding from CITY OF HURRICANE), and/or treble damages of a reasonable amount to be
determined at the time of trial, and/or any such other relief as this Court may deem to be just and
proper.

313. PLAINTIFFS also request that any costs they may incur as a result of this cause of action be

paid by the DEFENDANTS.
PRAYER FOR RELIEF
WHEREFORE, the PLAINTIFFS pray for a judgment in their favor and against the DEFENDANTS
and humbly request that the Court grant the following relief:

|. Injunctive relief in the form of an ORDER requiring the CITY OF HURRICANE and/or
HURRICANE POLICE DEPT. to return PLAINTIFF BILLY LEE CORAM’S personal
property consisting of two sets of full-spectrum L.E.D. grow lights and one germination
heating pad, that were seized from his residence during a search conducted by the
DEFENDANTS on October 24, 2024, where the warrant was invalid, rendering the search
and seizure Unconstitutional pursuant to the Fourth Amendment of the United States
Constitution.

2. An award for DAMAGES, including compensatory, exemplary or punitive (excluding
DEFENDANT CITY OF HURRICANE, Monell liability against a municipality, as punitive
or exemplary damages are not recoverable against municipalities), pecuniary, and/or treble,
in a reasonable amount to be determined at the time of trial, as allowable by Federal Law.

3. An award for compensation of the COSTS of filing and maintaining this suit, including
reasonable fees for expert witnesses or attorney fees, as necessary and as allowable by

Federal Law.

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4. Any other such equitable relief that this Court may deem to be just and proper, including

declaratory relief where necessary and if appropriate to clarify the rights of the parties.

JURY TRIAL DEMANDED
PLAINTIFFS HEREBY DEMAND A TRIAL BY A JURY, consisting of their peers, as is their
right, for each triable issue and cause of action, numbered one through sixteen, within this Complaint for

Damages.

EXECUTED: FEBRUARY 5, 2025 Respectfully Submitted,

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